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                                       Exhibit A

                                  (McNally Declaration)




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                              IN THE UNITED STATES BANKRUPTCY COURT

                                      FOR THE DISTRICT OF DELAWARE



                                                               ) Chapter 11
In re:                                                         )
                                                               ) Case No. 20-10343 (LSS)
                                                               )
BOY SCOUTS OF AMERICA AND                                      ) Jointly Administered
DELAWARE BSA, LLC,1                                            )
                                                               )
                                                               )
                                     Debtors.                  )

    DECLARATION OF KATIE MCNALLY IN SUPPORT OF THE TORT CLAIMANTS’
      COMMITTEE’S APPLICATION FOR ENTRY OF AN ORDER UNDER 11 U.S.C.
         §§ 1103(a) AND 328(a) AND FED. R. BANKR. P. 2014(a) AUTHORIZING
       RETENTION OF THE CLARO GROUP LLC AS EXPERT CONSULTANT ON
    SEXUAL ABUSE AND EXPERT WITNESS EFFECTIVE AS OF SEPTEMBER 1, 2021

          I, Katie McNally, make this Declaration under 28 U.S.C. § 1746:


                      1.     I am a Managing Director with The Claro Group, LLC. I submit this

    declaration (“Declaration”) in support of the Application (“Application”)2 of the official

    committee of survivors of childhood sexual abuse appointed in these cases by the United States

    Trustee (the “Tort Claimants’ Committee”) of the above-captioned debtors and debtors in

    possession (the “Debtors”) for entry of an order, pursuant to sections 328(a) and 1103(a) of the

    Bankruptcy Code, Bankruptcy Rule 2014(a), and Local Bankruptcy Rule 2014, authorizing my




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware the BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Application.


                                                           1
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  employment to provide consulting and expert witness services to the Tort Claimants’

  Committee effective as of September 1, 2021.

                    2.       The statements set forth below are based upon my personal knowledge.

                    3.       On September 1, 2021, the Tort Claimants’ Committee, subject to Court

  approval, retained me to provide expert consulting and testimony services as described below

  and in the Application.
                4.      Claro is well-qualified to serve as the Committee’s valuation expert in

  this Case. Claro has vast experience in valuation. Claro’s valuation practice is built on

  academics and practitioners whose experience is broad and deep. They include individuals

  with advanced degrees (Ph.D.’s and MBA’s), as well as those with professional designations,

  such as CPA’s, CFA’s, and ASA’s. The valuation professionals at Claro are highly skilled at

  analyzing companies and industries in a variety of settings, and have extensive experience

  documenting and supporting those analyses in reports, presentations, and recommendations.

  Claro’s experts have testified to their findings in depositions, trials, arbitrations, and regulatory

  proceedings.

                    5.        Claro’s valuation experts are frequently retained by companies,

  individuals, and their representatives, including private and public corporations, transactional

  attorneys, litigators and investment bankers. Claro has extensive experience advising and

  working in concert with interested stakeholders with respect to valuation of sexual abuse

  claims and other mass tort claims and allocating claims across decades worth of historical

  insurance policies.

                    6.        Specifically, Claro has assisted several major universities, including

  Michigan State University in connection with the Dr. Larry Nassar molestation/abuse claims,



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  as the retained valuation consultants. In this role, Claro developed individual claim values for

  each claimant and assisted in the settlement of the Nassar claims and hundreds of sexual abuse

  claims against other defendants. Claro also worked closely with counsel and performed

  numerous allocations of such claims across decades worth of available coverages to support

  insurance recovery efforts. Claro has performed similar work for other universities, and is

  currently serving as a valuation expert on behalf of the The Official Committee of Unsecured

  Creditors in the Diocese of Rochester bankruptcy proceedings involving abuse and molestation

  issues.

                    7.       I am a Managing Director and member of the Board of Managers of

  Claro. I have an MBA from the University of Chicago Booth School of Business with

  concentrations in Finance, Economics, and Statistics & Econometrics (among others). I

  currently serve as an Adjunct Lecturer of Statistics and Economics at Northwestern University

  and previously served as the CFO of a litigation funder, Juridica Asset Management Limited,

  where I developed models to price litigation risk. I have provided claim valuation services for

  mass tort claims and related insurance recovery support for the duration of my career and have

  served as the valuation and insurance recovery consultant on several high-profile sexual abuse

  matters. I have a deep understanding of the factors that drive settlement outcomes for sexual

  abuse claims specifically, including the nature of allegations, verdicts and settlements in

  potentially comparable matters, and availability and strength of legal defenses to such claims.



                    8.       Claro will provide the following services to the Tort Claimants’

  Committee (the “Services”):




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                  a.         expert consulting services and expert testimony regarding valuation of
                             sexual abuse claims filed in the Chapter 11 Cases;

                  b.         expert consulting services and expert testimony in connection with any
                             plan or settlement filed by the Debtors regarding childhood sexual abuse
                             claims. In addition, expert consulting services and expert testimony in
                             connection with plan or settlement filed by the Tort Claimants’ Committee
                             or any other party interest, and any contested matters and/or litigation
                             arising in these Cases as reasonably requested by the Tort Claimants’
                             Committee and TCC’s plan, etc. ;

                  c.         expert consulting services and expert testimony in the review and
                             evaluation of reports prepared by the Debtors, their professionals, the
                             Debtors’ insurers, and their professionals;

                  d.         as may be requested by the Tort Claimants’ Committee, assisting with the
                             preparation of affidavits/declarations, depositions, and briefing in these
                             Cases concerning the issues for which Claro is providing expert consulting
                             services and expert testimony;

                  e.         as may be requested by the Tort Claimants’ Committee, assisting with the
                             allocation of claims to potentially available insurance coverage;

                  f.         preparing for and providing both deposition and court testimony in these
                             Cases regarding the issues for Claro is providing expert consulting
                             services and expert testimony; and

                  g.         such other consulting and advisory services as may be reasonably
                             requested by the Tort Claimants’ Committee.


                       9.    I will coordinate and work with estate professionals in order to minimize

  any duplication of services on behalf of the Tort Claimants’ Committee.

                       10.   I understand that section 1103(b) of the Bankruptcy Code does not

  incorporate the general “disinterestedness” standard of section 327(a) on proposed

  professionals to an official committee of unsecured creditors. However, I also understand that

  Bankruptcy Rule 2014 requires that an application for employment under section 1103 disclose

  all connections with the Debtors, their estates, professionals, and the U.S. Trustee.




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                    11.      In connection with my proposed retention by the Tort Claimants’

  Committee, I undertook to determine whether Claro had any conflicts that might cause me or

  others at Claro to hold or represent an interest adverse to the Tort Claimants’ Committee with

  respect to the matters on which I am to be employed. I obtained from the Tort Claimants’

  Committee a conflicts checklist with the names of individuals and entities to be reviewed

  (“Potential Parties in Interest”), which are attached hereto as Exhibit A-2. The categories of

  the Potential Parties in Interest in these Cases include: the Debtors, their affiliates, their

  directors and officers, secured lenders, equity holders, lien holders, letter of credit

  counterparties, surety bond issuers, insurance carriers, certain survivors and their respective

  counsel, the Debtors’ 50 largest unsecured creditors, significant creditors, professionals,

  ordinary course professionals, U.S. Trustee and key personnel.

                    12.      Based on the best of my information and belief, Claro is a “disinterested

  person” as that term is defined in Section 101(14) of the Bankruptcy Code. Claro is not a

  creditor, an equity security holder, or a pre-petition insider of the Debtor. Claro is not and was

  not, within two years prior to the Petition Date, a director, officer or employee of the Debtor.

  Lastly, Claro does not have any direct or indirect relationship to, connection with, or interest

  in, the Debtor that would make its interests materially adverse to the interests of the estate or of

  any class of creditors or equity holders.

                    13.      In preparing this Declaration, I also have reviewed my connections with

  the Potential Parties in Interest. Based on this review, to the best of my current knowledge and

  except as otherwise set forth herein, I do not have an actual conflict of interest with any of the

  Potential Parties in Interest. I have no connection to the Debtors, their creditors, or any other

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  parties in interest herein, or their respective attorneys and accountants, the U.S. Trustee or any

  person employed in the Office of the U.S. Trustee, or any Bankruptcy Judge currently serving

  on the United States Bankruptcy Court for the Eastern District of Delaware, except as set forth

  in Exhibit A-3.

                    14.      Claro may represent, or may have represented, debtors, creditors’

  committees, or trustees in cases or proceedings against creditors of the Debtors that are

  unrelated to these cases. Those matters do not present a conflict in these Cases.

                    15.      Claro has represented, represents, and in the future will likely represent

  debtors and creditors’ committees in cases unrelated to the Debtors and these Cases wherein

  one or more of the firms representing the members of the Tort Claimants’ Committee or other

  parties in interest serve as or will serve as professionals to committee members. I do not

  believe that the connections described in Exhibit A-3 create an actual conflict of interest.

  Further, I believe the Claro holds no adverse interest to the Tort Claimants’ Committee or the

  estates in the matters for which it is being retained.

                    16.      If, at any time during the course of these Cases, Claro learns of any

  representation which may give rise to a conflict, Claro will promptly file with the Court an

  amended declaration identifying and specifying such involvement.

                    17.      Claro will apply to the Court for allowance of compensation for services

  rendered and reimbursement of expenses incurred in accordance with the Bankruptcy Code, the

  Bankruptcy Rules, the Local Bankruptcy Rules and any applicable Orders of the Court.

                    18.      Claro’s current standard hourly rates are as follows, subject to change

  from time to time:

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                              Billing Category                        Hourly Rate Range

                             Managing Director                           $605 to $675

                                  Director                                    $495

                     Managers/Senior Managers                            $350 to $395

             Analysts/Consultants/Senior Consultants                     $265 to $305




                    19.        The hourly rates for Claro professionals anticipated to be assigned this

  engagement are as follows: Katie McNally ($625) and John Cadarette ($675). Claro will use

  its best efforts to staff and supervise the engagement with appropriate personnel utilizing rates

  at the lower-end of the hourly rate ranges stated above; however, there may be requirements

  and circumstances of the Case that require specialized expertise or time sensitive assignments

  where certain personnel may be required at the higher-end of the stated range. In the ordinary

  course of business, Claro periodically revises its hourly rates to reflect promotions and other

  changes in personnel responsibilities, increases in experience and increases in the cost of doing

  business.


                    20.      Claro is not a prepetition creditor of the Debtors. To the best of my

  knowledge, (a) Claro has received no promises as to compensation or payment in connection

  with this retention other than in accordance with the provisions of the Bankruptcy Code, the

  Bankruptcy Rules, the Local Bankruptcy Rules and Orders of this Court and (b) Claro has no

  agreement with any non-affiliated person or entity to share with such entity any compensation

  received in connection with this retention.




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                                        Exhibit A-1

                                 (Claro Engagement Letter)




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Date: September 1, 2021

Boy Scouts of America Tort Claimants Committee
Attn: Committee Chairmen: John Humphrey & Doug Kennedy
c/o John W. Lucas
Pachulski Stang Ziehl & Jones LLP
150 California Street, 15th Fl
San Francisco, CA 94111

         Re:      Boy Scouts of America Tort Claimants Committee

Dear Committee Chairmen:

This letter (“Engagement Letter”) sets forth the basis of The Claro Group,
LLC’s (“Claro”) engagment by the Official Tort Claimants Committee
(“Client” or “Committee”) in the chapter 11 cases of the Boy Scouts of
America (“BSA”). This Engagement Letter is subject to Claro’s Standard
Business Terms (as modified), which are attached hereto as Exhibit 1
(collectively with the Engagement Letter, the “Agreement”). Except where
expressly modified by this Engagement Letter, the Standard Business
Terms shall control. The terms of the Agreement are subject to the
Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the
Retention Order and further order of the Bankruptcy Court.1

A.    Scope of the Engagement (“Engagement”)

Client is retaining Claro for the purpose of having Claro provide valuation
services (“Services”) to Client with respect to the sexual abuse claims filed in
the chapter 11 cases of BSA accordance with the terms of this Agreement.
Claro further understands that Client is interested in obtaining objective
and independent analyses in connection with the Case. The results of
Claro’s analyses may be used as evidence to support or contest issues
relating to or impacting the sexual abuse claims in BSA’s chapter 11 case.
Claro will report to Client, including through counsel to Client, verbally from
time to time, and at Client’s direction, on the progress of the work and
preliminary findings.


1
 The term “Retention Order” refers to an Order Authorizing and Approving the Employment of The Claro
Group, LLC as Claims Valuation Advisor to the Boy Scouts of America Tort Claimants Committee entered by the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) in the chapter 11 case of
Boy Scouts of America and Delaware BSA, LLC, Case. 20-10343 (LSS) (the “Case”).
             The Claro Group, LLC | 123 North Wacker Drive, Suite 2100 | Chicago, IL 60606
                          P 312-546-3400 | F 312-554-8085 | theclarogroup.com
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The individual members of the Claro team will be selected from Claro’s
resources to provide the range and level of expertise necessary to achieve
the project objectives. Katie McNally and John Cadarette will be your
principal contacts for the duration of the Engagement. If required, Ms.
McNally will be the testifying expert.

Claro will perform those services or tasks Client requests which are within
our scope or practice, including without limitation, the Services set forth
above. To the extent Client asks Claro to reach conclusions or form
opinions, Claro is obligated to do so without regard to the impact that such
conclusions may have upon the Engagement. Client agrees to comply
with all of Claro’s reasonable requests and to provide Claro timely access to
all information and locations reasonably necessary to our performance of
the Engagement.

The Services are intended solely for Client’s use in connection with the
purposes specified in the Engagement and should not be used or relied
upon for any other purpose. Any written work product Claro prepares for
Client is to be used solely for purposes of this Engagement and may not be
published or used, in whole or in part, for any other purpose without Claro’s
written permission.

Claro is not providing legal services, a legal opinion, actuarial services, or
public adjusting services to Client or any other person or entity on any
matters encompassed by this Agreement or otherwise. Claro is a
management consulting firm and not a CPA firm, and does not provide
attest services, audits or other engagements in accordance with the AICPA
Statements on Auditing Standards. Any accounting related services that
Claro or its professionals may provide Client will be in Claro’s role as
business advisor to Client. Claro will not be auditing any financial
statements or performing attest procedures with respect to information
reviewed in conjunction with this Engagement. Claro’s Services are not
designed, nor should they be relied upon, to identify weaknesses in internal
controls, financial statement errors, irregularities, illegal acts or disclosure
deficiencies.

B.    Fee Agreement

Compensation for this Engagement will be in accordance with the terms of
this Agreement and subject to the Retention Order and any applicable
rules or orders of the Bankruptcy Court.




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To perform those services or tasks Client requests which are within our
scope or practice, Claro’s fees are based on the Claro’s hourly rates. The
proposed rates of compensation, subject to final Court approval, are the
customary hourly rates in effect when services are performed by the
professionals and paraprofessionals who provide services to the
Committee. The hourly rates for Claro personnel that will work on this
engagement are as follows:




                         Billing Category                   Hourly Rate Range

                      Managing Director                       $605 to $675

                              Director                             $495

                Managers/Senior Managers                       $350 to $395

               Analysts/Consultants/Senior                     $265 to $305

                             Consultants




These hourly rates are subject to periodic adjustment, which shall be noted
on the invoices for the first time period in which the revised rates become
effective. The hourly rates for Claro’s professionals anticipated to be
assigned this engagement are as follows: Katie McNally ($625) and John
Cadarette ($675). Claro will use its best efforts to staff and supervise the
engagement with appropriate personnel utilizing rates at the lower-end of
the hourly rate ranges stated above; however, there may be requirements
and circumstances of the case that require specialized expertise or time
sensitive assignments where certain personnel may be required at the
higher-end of the stated range.
Consistent with Claro’s policy with respect to its other clients, Claro will
charge for all services provided and for other charges and disbursements
incurred in rendering services to the Committee. These customary items

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Title: John Humprey, Chair




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                                                       EXHIBIT 1
                                                 THE CLARO GROUP, LLC
                                               STANDARD BUSINESS TERMS

     If any of the following terms do not comply with the Bankruptcy Code or applicable Bankruptcy Rules, as
     applied in the Case, then such terms shall be deemed not to apply to the Engagement.

     The following Standard Business Terms ("Terms") shall govern the Services provided by The Claro Group, LLC
     and its personnel ("Claro") as set forth in the engagement letter, statement of work or job arrangement letter
     ("Engagement Letter") executed by Client and Claro to which these Terms are attached. The Engagement Letter
     and these Terms (collectively the "Agreement") constitute the entire understanding and agreement between Client
     and Claro with respect to the Services described in the Engagement Letter and form the entire agreement
     between the parties relating to the Services and replace and supersede any previous proposals, letters of
     engagement, undertakings, agreements, understandings, correspondence and oilier communications, whether
     written or oral, regarding the Services. If there is a conflict between these Terms and the terms of any
     Engagement Letter, except as may be expressly noted in the Engagement Letter, these Terms shall control. In
     addition, to the extent there is a binding order of a Bankruptcy Court governing Claro's Services and/or the
     services of any Claro personnel ("Bankruptcy Order"), the terms and conditions of such Bankruptcy Order shall
     control.

1.    Invoicing                                                           intellectual property rights therein; and (ii) all
      1.1 Claro shall earn the fees and incur expenses                    methodologies, processes, techniques,
          in accordance with the terms of the                             ideas, concepts, trade secrets and know-
          Retention Order.                                                how embodied in the Deliverables or that
                                                                          Claro may develop or supply in connection
      1.2 Claro shall invoice Client for fees earned and                  with this Agreement (the "Claro Knowledge").
          expenses incurred on a monthly basis in                         Subject to the confidentiality restrictions
          accordance with the terms of the Bankruptcy                     contained in the Agreement, Claro may use
          Code, the Bankruptcy Rules and any                              the Deliverables and the Claro Knowledge
          applicable order of the Bankruptcy Court.                       for any purpose.

2     Reports and Advice                                        3   Information and Assistance
      2.1 Use and purpose of advice and reports -                   3.1 No assurance on financial data – While
          Any advice given, report or other deliverable                 Claro's work may include an analysis of
          issued by Claro, including but not limited to                 financial and accounting data, the Services
          that advice, report or deliverable described in               will not include an independent audit,
          the Engagement Letter (collectively                           independent compilation or independent
          "Deliverables") is provided solely for the use                review of any kind of any financial
          and benefit of Client and only in connection                  statements or components thereof. Client
          with the purpose in respect of which the                      management will be responsible for any and
          Services are provided. Unless required by                     all financial information they provide Claro
          law, or as otherwise provided in Clause 5.3                   during the course of the engagement
          of the Standard Business Terms, Client shall                  hereunder, Claro will not independently
          not provide any advice given or report issued                 examine, compile or verify any such financial
          by Claro to any third party or refer to the                   information.
          parties or the Services without Claro's prior
          written consent. In no event, regardless of               3.2 Prospective financial information - In the
          whether consent has been provided, shall                      event the Services involve prospective
          Claro assume any responsibility to any third                  financial information, Claro's work will not
          party to which any advice or report is                        constitute an independent examination or
          disclosed or otherwise made available.                        compilation of such information. Claro takes
                                                                        no responsibility for the achievability of
      2.2 Client shall not, without Claro's prior written               results or events projected or anticipated by
          consent or as expressly provided otherwise                    the management of the Client.
          in the Engagement Letter, disclose to a third
          party, publicly quote or make reference to                3.3 Claro is not a public accounting firm; all
          the Deliverables. Claro shall retain all right,               services that we provide you will be solely in
          title and interest in and to: (i) the                         our role as business advisor to you. Claro
          Deliverables, including but not limited to all                will not audit any financial statements or
          patent, copyright, trademark and other                        perform any attest procedures with respect


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         to any Client information, systems or                                  no obligation of confidence in respect
         practices in conjunction with this                                     of the information; or
         Engagement. Claro's services are not
         designed, nor should they be relied upon by                     5.1.3 is or has been independently
         Client or third parties, to identify weaknesses                       developed by the recipient.
         in the Client's internal controls, financial
         statement errors, irregularities, illegal acts or               Nothing herein shall be deemed to
         disclosure deficiencies.                                        supersede any order of the Bankruptcy Court
                                                                         regarding confidentiality of information.
    3.4 As a prerequisite to Claro's delivery of
        Services, Client shall (i) fulfill the Client                5.2 Disclosing confidential information-
        responsibilities and ensure that all                             Notwithstanding Clause 5.1 above, any party
        assumptions (if any) are accurate; (ii)                          to this Agreement will be entitled to disclose
        provide Claro with reliable, accurate and                        confidential information of the other to a third
        complete information, as required; (iii) make                    party to the extent that this is required by
        timely decisions and obtain required                             valid legal process, provided that (and
        management approvals; and (iv) furnish                           without breaching any legal or regulatory
        Claro personnel with a suitable office                           requirement) where reasonably practicable
        environment and adequate resources and                           not less than 2 business days' notice in
        supplies, as needed. In addition, Claro shall                    writing is first given to the other party;
        be entitled to rely on all Client decisions and                  provided, however, that nothing herein shall
        approvals made independently of this                             authorize Claro to disclose confidential
        Agreement and/or prior to its execution by                       Sexual Abuse Proofs of Claim2 without
        the parties. Nothing in the Agreement shall                      authorization of the Bankruptcy Court.
        require Claro to evaluate, advise on, modify,
        confirm, or reject such decisions and                        5.3 Internal quality reviews – Notwithstanding
        approvals, except as expressly agreed to in                      the above, Claro may disclose any
        the Engagement Letter.                                           information referred to in this Clause 5 to any
                                                                         other Claro personnel or affiliate as
4   Additional Services                                                  necessary to provide the Services or use it
    4.1 Responsibility for other parties - Client                        for internal quality reviews; provided,
        shall be solely responsible for the work and                     however, that nothing herein shall authorize
        fees of any other party engaged by Client to                     to disclose any Sexual Abuse Proof of Claim
        provide services in connection with the                          Form or the identity of a Sexual Abuse
        engagement hereunder regardless of                               Claimant to any individual that is not an
        whether such party was introduced to Client                      Authorized Party under the Bar Date Order.
        by Claro.
                                                               5.4       Return of Confidential Information - Within
5   Confidentiality                                                      30 days after the conclusion of the
    5.1 Restrictions on confidential information -                       engagement, Client may request that Claro
        All parties agree that any confidential                          (a) return all documents or copies of
        information received from the other party                        documents that Client provided to Claro or
        under the Agreement shall only be used for                       (b) destroy such materials; provided, that in
        the purposes of providing or receiving                           either case, Claro may keep one archival set
        Services described in the Engagement                             of Claro's working papers from the
        Letter. Except as provided below, no party to                    engagement, including working papers
        this Agreement will disclose the other party's                   containing or reflecting confidential
        confidential information to any third party                      information, in accordance with Claro's
        without the other party's consent.                               professional standards and internal policies.
        Confidential Information shall not include                       Any Sexual Abuse Proof of Claim Forms and
        information that:                                                Sexual Abuse Claimants’ personally
        5.1.1 is or becomes generally available to                       identifiable information shall remain subject
                the public other than as a result of a                   to the confidentiality terms of the Bar Date
                breach of an obligation under this                       Order
                Clause 5.1;
                                                               6     Term of Agreement and Termination
         5.1.2 is acquired from a third party who, to
               the recipient party's knowledge, owes


2
 As defined in the Order Establishing a Deadline for           Manner of Notice Thereof (the “Bar Date Order”)
Filing Proofs of Claim and Approving the Form and              [Docket No. 695]

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    6.1 Termination - Any party to this Agreement                      its personnel, as appropriate, to perform the
        may terminate the Agreement for whatever                       Services.
        reason upon thirty (30) days prior written
        notice to the other party. In addition, either            8.3 No Solicitation of Personnel. During the term
        party may terminate the Agreement if the                      of the Agreement, and for a period of six (6)
        other party fails to cure a material breach of                months following the expiration or
        the Agreement within 30 days’ prior written                   termination thereof, neither party will actively
        notice of material breach. Further, Claro                     solicit the employment of the personnel of
        may terminate the Agreement upon prior                        the other party involved directly with
        written notice to Client if conflicts of interest             providing or receiving Services hereunder.
        arise or become known to Claro that, in its
        sole judgment, would impair its ability to
        perform the services objectively. Upon any            9   Conflicts – Subject to the requirements of the
        termination of this Agreement, Claro shall be             Bankruptcy Code and Bankruptcy Rules, Claro is
        entitled to all incurred and unpaid fees and              engaged by many other companies and
        expenses described in the Agreement,                      individuals on a variety of matters. Claro's
        including but not limited to any Success                  determination of conflicts is based on the
        Fees to which Claro may be entitled under                 substance of the work to be performed on an
        the Engagement Letter.                                    engagement as opposed to the parties involved.
                                                                  It is possible that some of Claro's past, present or
7   Liability Limitation and Waiver of Jury Trial                 future clients will have disputes with and other
    7.1 Limitation of liability - Except to the extent            matters relating to Client during the course of and
        finally determined by a court of competent                subsequent to this Engagement. As a condition
        jurisdiction to have resulted from its own                of this Engagement, Client agrees that Claro may
        willful misconduct, gross negligence or                   be engaged by parties with interests that are
        fraudulent behavior, the maximum liability of             adverse to and may not be consistent with the
        Claro relating to the Services rendered under             interests of Client. Claro reserves the right to
        the Engagement Letter and Retention Order,                accept engagements with other parties consistent
        whether a claim be in tort, contract or                   with internal, prior practices, and will not be
        otherwise, shall be limited to the total                  required to advise Client of such engagements in
        compensation received by Claro in                         the future. If appropriate, Claro will institute
        connection with this Engagement.                          procedures to protect the confidentiality of
                                                                  information provided by Client on this
8   Independent Contractor Status/Personnel                       Engagement. Client's engagement of Claro is
    8.1 It is understood and agreed that Claro is an              expressly conditioned on Client's agreement not
        independent contractor under the Agreement                to use the fact of Claro's current or previous
        and accordingly, the Agreement shall not be               engagement by any opposing client in other
        an employment agreement. No one on                        matters as a means of enhancing or diminishing
        behalf of any Claro Party (as defined below),             Claro's credibility in conjunction with any
        nor any employees, agents or independent                  appearance before a trier of fact.
        contractors thereof, shall be considered to
        be a director, officer, member, manager,              10 Conclusion of Engagement - Except as
        partner, control person, employee,                       otherwise required by law or special
        representative, agent or insider of Client,              circumstances, at the end of this engagement,
        unless expressly agreed to in writing signed             Claro will send to Client, a notification outlining
        by Client and Claro. As an independent                   Claro's case closing procedures. In summary,
        contractor, Claro will have exclusive control            Claro will return all case information provided by
        over the management and operation of                     Client, and provide Client with Claro's final work
        Claro, including hiring and paying the wages             product in appropriate media as agreed by Claro
        or other compensation or its personnel.                  and Client. In the event that there are special
        Unless expressly provided otherwise in the               circumstances (such as a subpoena, court order
        Engagement Letter, the Claro personnel who               or other legal hold, or storing of case records and
        provide services to Client under this                    information for Client for a specified period of
        Agreement may also provide services to                   time after the scope of work is complete), Client
        other past, present or future Claro clients in           will be responsible within thirty (30) days for
        connection with unrelated matters.                       providing Claro with written instructions for Claro
                                                                 to follow. Client shall be responsible for payment
    8.2 Personnel Assignment. While Claro shall                  of associated expenses (such as storage,
        attempt to comply with Client's request for              destruction and return shipment costs) incurred
        specific individuals, Claro shall be                     by Claro in preserving documents due to such
        responsible for assigning and re-assigning               special circumstances. These associated
                                                                 expenses may be submitted to Client after the


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    final bill for Claro professional services has been             forth in the Engagement Letter, and shall be
    rendered. Any remaining case information in the                 considered given when received.
    possession of Claro, i.e. generated reference and
    research materials, as well as work product, etc.,          13.1.6 No term of the Agreement shall be deemed
    will follow Claro's case retention schedule.                    waived, and no breach of this Agreement excused,
                                                                    unless the waiver or consent is in writing signed by
                                                                    the party granting such waiver or consent.
11 No Warranties - Client, by signing this
   Agreement, expressly acknowledge and agree                   13.1.7 It is expressly understood and agreed that the
   that Claro does not guarantee or warrant                         parties’ respective obligations under the
   achievement of any projected financial results                   Agreement that by their nature continue beyond
   represented by the Client, or otherwise provide                  the termination or expiration of this Agreement
   assurance that the Client will be able to                        shall survive such termination or expiration of this
   restructure its obligations, obtain financing or                 Agreement.
   repay its obligations in whole or in part.
                                                                13.1.8 If any term or provision of the Agreement is
12 [Reserved]                                                       determined to be illegal or unenforceable, such
                                                                    term or provision shall be deemed stricken, and all
13 General Provisions                                               other terms and provisions shall remain in full
13.1.1 Neither party shall use the other party’s name,              force and effect.
    trademarks, service marks, logos, trade names
    and/or branding without such party’s prior written          These Standard Business Terms are part of the
    consent. Notwithstanding anything herein to the             Engagement Letter to which they are attached
    contrary, Claro may reference or list Client’s name
    and/or      a    general    description    of     the
    Services/project. Client also agrees that upon
    reasonable prior notice from Claro, Client will be
    willing to provide a reference for Claro (e.g. in the
    form of analyst telephone calls, Client telephone
    calls, presentations, and the like).

13.1.2 Upon the consummation of any Services
    involving a transaction, Claro may, at its own
    expense, place announcements on its corporate
    website, social media platforms and in financial
    and other newspapers and periodicals (such as a
    customary “tombstone” advertisement, including
    the Client’s logo or other identifying marks)
    describing its Services in connection therewith.
    The content of any such announcement shall be
    subject to the Client’s prior approval, which
    approval shall not be unreasonably withheld.
    Furthermore, if requested by Claro, the Client
    agrees that in any press release announcing any
    such transaction, the Client will include in such
    press release a mutually acceptable reference to
    Claro’s role with respect to such transaction.

13.1.3 Neither party shall be liable for any delays or
    failures in performance due to circumstances
    beyond its reasonable control.

13.1.4 This Agreement may not be assigned or
    otherwise transferred without the prior express
    written consent of the other party; provided,
    however, Claro may assign this Agreement to an
    affiliate of Claro or use one or more of its affiliates
    to provide certain of the Services.

13.1.5 Any notices given pursuant to this Agreement
    shall be in writing, delivered to the address set



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                                          Exhibit A-2

                                  Potential Parties in Interest


                                       List of Schedules

 Schedule       Category
 1(a)           Debtors
 1(b)           Current and Former Directors and Officers of the Debtors
 1(c)           Non-Debtor Affiliates
 1(d)           Selected Chartered Organizations
 1(e)           Local Councils
 1(f)           Secured Parties
 1(g)           Banks
 1(h)           Credit Card Processors
 1(i)           Insurers
 1(j)           Landlords
 1(k)           Litigation Parties
 1(l)           Professionals to be Retained by the Debtors
 1(m)           Professionals Representing Certain Parties in Interest
 1(n)           Ordinary Course Professionals
 1(o)           Tort Claimants Committee
 1(p)           Unsecured Creditors Committee
 1(q)           Top 25 Plaintiffs’ Law Firms Representing the Largest Number of Abuse
                Victims Asserting Claims Against the Debtors
 1(r)           Top 30 General Unsecured Creditors of the Debtors (Non-Abuse Claims)
 1(s)           Deferred Compensation and Restoration Plan Participants
 1(t)           Significant Contract Counterparties
 1(u)           Significant Customers
 1(v)           Significant Donors
 1(w)           Significant Vendors
 1(x)           Significant Taxing Authorities
 1(y)           Significant Utility Providers
 1(z)           U.S. Trustee, Judges, and Court Contacts for the District of Delaware




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                               Schedule 1(a)

                                  Debtors

Boy Scouts of America
Delaware BSA, LLC
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                                    Schedule 1(b)

               Current and Former Directors and Officers of the Debtors

Al Lambert                                    Jack Otto
Alison K. Schuler                             James D. Rogers
Arthur F. “Skip” Oppenheimer                  James S. Turley
Aubrey Harwell                                James S. Wilson
Brad Haddock                                  Janice Bryant Howroyd
Bradley D. Tilden                             Jeanette Prenger
Bray B. Barnes                                Jeanne Arnold
C. David Moody                                Jeffrey R. Holland
Charles H. Smith                              Jennifer Hancock
Charles W. Dahlquist                          Jim Ryffel
Craig Fenneman                                Joe Crafton
D. Kent Clayburn                              John C. Cushman
Dan Ownby                                     John Gottschalk
Daniel Cabela                                 John Mosby
David Biegler                                 John R. Donnell Jr.
David L. Steward                              Jose Nino
David M. Clark                                Joseph P Landy
David Rumbarger                               Joy Jones
David S. Alexander                            Keith A. Clark
Dennis H. Chookaszian                         L.B. Eckelkamp Jr.
Devang Desai                                  Lisa Argyros
Dominic Wolters                               Lyle Knight
Doug Mitchell                                 Mark Logemann
Douglas H. Dittrick                           Matthew K. Rose
Doyle Parrish                                 Matthew Parsons
Drayton McLane Jr.                            Michael Ashline
E. Gordon Gee                                 Michael E. Sears
Ellie Morrison                                Michael G. Hoffman
Eric Schultz                                  Michael Surbaugh
Erin Eisner                                   Nathan O. Rosenberg
Forrest Gertin                                Nevada “Al” Kent
Francis McAllister                            Pamela Petterchak
Frank D. Tsuru                                Patrick Sterrett
Frank Ramirez                                 Paul Raines
Fred Markham                                  Philip M. Condit
Gary Crum                                     Pratik Vaidya
Gary E. Wendlandt                             Ralph de la Vega
Glenn Adams                                   Randall Stephenson
Hannah Carter                                 Ray Capp
Hector A. “Tico” Perez                        Raymond Johns
Howard Bulloch                                Rex W. Tillerson
J. Brett Harvey                               Rick Cronk
Jack Furst                                    Robert H. Reynolds
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Robert M. Gates
Roger C. Mosby
Ron Kirk
Ronald O. Coleman
Roy S. Roberts
Scott Christensen
Scott Sorrels
Scott W. Beckett
Stephen Owen
Steven E. Weekes
Steven Rendle
Tanya Acker
Thear Suzuki
Thomas C. Edwards
Thomas S. Monson
Thomas Yarboro
Wayne Perry
Wesley Coleman
Wesley J. Smith
William Rosner
William W. Stark Jr.
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                                     Schedule 1(c)

                                 Non-Debtor Affiliates

Arrow WV, Inc.
Atikaki Youth Ventures Inc.
Atikokan Youth Ventures Inc.
BSA Asset Management, LLC
BSA Commingled Endowment Fund, LP
BSA Endowment Master Trust
Learning for Life
National Boy Scouts of America Foundation
NewWorld19, LLC
Texas BSA, LLC
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                                                Schedule 1(d)

                                   Selected Chartered Organizations1

All Saints R.C. Church                                       Monastery of Christ In The Desert
Archdiocese of New York                                      Our Lady of Lourdes Catholic School
Audubon Baptist Church                                       Our Savior Lutheran Church
Beech Haven Baptist Church                                   Queen of Peace R.C. Church
Big Cross Elementary School                                  Reformation Lutheran Church
Bishop Turner High School                                    Regis High School
Calasanctius School of Buffalo                               Roman Catholic Archbishop of Agana
Canisius High School of Buffalo                              Roman Catholic Archdiocese of New York,
Capuchin Franciscans                                             Archdiocese of New York
Capuchin Franciscans Custody of Star of                      Roman Catholic Parish of St. Frances
    The Sea                                                      Xavier Cabrini, Rochester NY (Formerly
Capuchin Franciscans Province of St. Mary                        “Church of The Annunciation Of
Carmel of The Immaculate Concepcion                              Rochester, New York”), a Religious
Cascade Charter Township                                         Corporation
Church of The Holy Innocents                                 Sacred Heart - Espanola
City of Bloomingdale                                         Saint John The Baptist Church
Corporation of the President of the Church                   School Sisters of Notre Dame Central
    of Jesus Christ of Latter-Day Saints                         Pacific Province, Inc.
Country Farm Supply                                          School Sisters of Notre Dame, Region of
Diocese of Brooklyn                                              Guam
Diocese of Buffalo                                           Silver Springs Shores Presbyterian Church,
Discalced Carmelite Nuns (O.C.D.) A.K.A.                         Inc.
    Order of Discalced Carmelites                            Society of Jesus, USA-Northeast Province
First Baptist Church of Athens                                   A/K/A The Jesuits
First Baptist Church of Danville D/B/A Boy                   St. Ambrose Church
    Scout Troop 354                                          St. Benedict Joseph Labre Church
First Baptist Church of Gainesville                          St. Benedict Joseph Labre School
Glens Falls City School District                             St. Brigid’s R.C. Church
Greek Orthodox Archdiocese of America                        St. Catherine’s Roman Catholic Church
Green Acres Baptist Church                                   St. Catherine’s Roman Catholic Church
Holy Family Church                                               School
Holy Family R.C. Church                                      St. Demetrios Greek Orthodox Church St.
House of Hope Presbyterian Church                            Francis of Assisi Roman Catholic
Immaculate Conception R.C. Church                                Church
Louisville Metro Police Department, City of                  St. Francis Xavier Church
    Louisville, Jefferson County / Louisville                St. Helena Parish
    Consolidated Government                                  St. John Gualbert R.C. Church
Mohawk District of The Northern New York                     St. John Vianney R.C. Church
    Annual Conference of The Methodist                       St. Josephats R.C. Church
    Episcopal Church of New York                             St. Nicholas of Tolentine

1
 There are approximately 41,000 chartered organizations. This list only includes those charted organizations known
by the Debtors to be implicated in abuse claims with the BSA.
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St. Paul’s R.C. Church
St. Pius V
St. Pius X Catholic Church of Rochester,
    Minnesota
St. Teresa Parish A/K/A Church of St.
    Teresa of The Infant Jesus
St. Teresa R.C. Church
The Blessed Trinity R.C. Church
The Diocese of Rochester (A/K/A “Roman
    Catholic Diocese of Rochester”), A
    Religious Corporation
The Foundation of The Roman Catholic
    Diocese of Buffalo N.Y., Inc.
The Pingry School
The Roman Catholic Diocese of Syracuse
The Roman Catholic Diocese of Syracuse,
    NY
The School Sisters Of Notre Dame,
    Milwaukee Province, Inc.
Town of Deerfield
Town of Trumbull
University Heights Presbyterian Church
USA Northeast Province of The Society of
    Jesus
Weedsport Central School District
Weedsport Central School District Board of
    Education
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                                     Schedule 1(e)

                                    Local Councils

Boy Scouts of America Abraham Lincoln         Boy Scouts of America Buffalo Trail
   Council                                       Council
Boy Scouts of America Alabama-Florida         Boy Scouts of America Caddo Area Council
   Council                                    Boy Scouts of America Calcasieu Area
Boy Scouts of America Alameda Council            Council
Boy Scouts of America Alamo Area Council      Boy Scouts of America California Inland
Boy Scouts of America Allegheny                  Empire Council
   Highlands Council                          Boy Scouts of America Cape Cod And
Boy Scouts of America Aloha Council              Islands Council
Boy Scouts of America Andrew Jackson          Boy Scouts of America Cape Fear Council
   Council                                    Boy Scouts of America Capitol Area
Boy Scouts of America Anthony Wayne              Council
   Area Council                               Boy Scouts of America Cascade Pacific
Boy Scouts of America Arbuckle Area              Council
   Council                                    Boy Scouts of America Catalina Council
Boy Scouts of America Atlanta Area            Boy Scouts of America Central Florida
   Council                                       Council
Boy Scouts of America Baden-Powell            Boy Scouts of America Central Georgia
   Council                                       Council
Boy Scouts of America Baltimore Area          Boy Scouts of America Central Minnesota
   Council                                       Council
Boy Scouts of America Bay Area Council        Boy Scouts of America Central North
Boy Scouts of America Bay-Lakes Council          Carolina Council
Boy Scouts of America Black Hills Area        Boy Scouts of America Chattahoochee
   Council                                       Council
Boy Scouts of America Black Swamp Area        Boy Scouts of America Cherokee Area
   Council                                       Council
Boy Scouts of America Black Warrior           Boy Scouts of America Chester County
   Council                                       Council
Boy Scouts of America Blackhawk Area          Boy Scouts of America Chickasaw Council
   Council                                    Boy Scouts Of America Chief Cornplanter
Boy Scouts of America Blue Grass Council         Council
Boy Scouts of America Blue Mountain           Boy Scouts of America Chief Seattle
   Council                                       Council
Boy Scouts of America Blue Ridge Council      Boy Scouts of America Chippewa Valley
Boy Scouts of America Blue Ridge                 Council
   Mountains Council                          Boy Scouts of America Choctaw Area
Boy Scouts of America Buckeye Council            Council
Boy Scouts of America Buckskin Council        Boy Scouts of America Cimarron Council
Boy Scouts of America Bucktail Council        Boy Scouts of America Circle Ten Council
Boy Scouts of America Buffalo Trace           Boy Scouts of America Coastal Carolina
   Council                                       Council
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Boy Scouts of America Coastal Georgia         Boy Scouts of America Gateway Area
   Council                                       Council
Boy Scouts of America Colonial Virginia       Boy Scouts of America Georgia-Carolina
   Council                                       Council
Boy Scouts of America Columbia-Montour        Boy Scouts of America Glacier’s Edge
   Council                                       Council
Boy Scouts of America Connecticut Rivers      Boy Scouts of America Golden Empire
   Council                                       Council
Boy Scouts of America Connecticut Yankee      Boy Scouts of America Golden Spread
   Council                                       Council
Boy Scouts of America Conquistador            Boy Scouts of America Grand Canyon
   Council                                       Council
Boy Scouts of America Cornhusker Council      Boy Scouts of America Grand Columbia
Boy Scouts of America Coronado Area              Council
   Council                                    Boy Scouts of America Grand Teton
Boy Scouts of America Cradle Of Liberty          Council
   Council                                    Boy Scouts of America Great Alaska
Boy Scouts of America Crater Lake Council        Council
Boy Scouts of America Crossroads Of           Boy Scouts of America Great Rivers
   America Council                               Council
Boy Scouts of America Dan Beard Council       Boy Scouts of America Great Salt Lake
Boy Scouts of America Daniel Boone               Council
   Council                                    Boy Scouts of America Great Smoky
Boy Scouts of America Daniel Webster             Mountain Council
   Council                                    Boy Scouts of America Great Southwest
Boy Scouts of America De Soto Area               Council
   Council                                    Boy Scouts of America Great Trail Council
Boy Scouts of America Del-Mar-Va Council      Boy Scouts of America Greater Alabama
Boy Scouts of America Denver Area                Council
   Council                                    Boy Scouts of America Greater Los Angeles
Boy Scouts of America East Carolina              Area Council
   Council                                    Boy Scouts of America Greater New York
Boy Scouts of America East Texas Area            Council
   Council                                    Boy Scouts of America Greater Niagara
Boy Scouts of America Erie Shores Council        Frontier Council
Boy Scouts of America Evangeline Area         Boy Scouts of America Greater St. Louis
   Council                                       Area Council
Boy Scouts of America Far East Council        Boy Scouts of America Greater Tampa Bay
Boy Scouts of America Five Rivers Council        Area Council
Boy Scouts of America Flint River Council     Boy Scouts of America Greater Wyoming
Boy Scouts of America French Creek               Council
   Council                                    Boy Scouts of America Greater Yosemite
Boy Scouts of America Gamehaven Council          Council
Boy Scouts of America Garden State            Boy Scouts of America Green Mountain
   Council                                       Council
                                              Boy Scouts of America Greenwich Council
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Boy Scouts of America Gulf Coast Council      Boy Scouts of America Lincoln Heritage
Boy Scouts of America Gulf Stream Council        Council
Boy Scouts of America Hawk Mountain           Boy Scouts of America Long Beach Area
   Council                                       Council
Boy Scouts of America Hawkeye Area            Boy Scouts of America Longhorn Council
   Council                                    Boy Scouts of America Longhouse Council
Boy Scouts of America Heart Of America        Boy Scouts of America Longs Peak Council
   Council                                    Boy Scouts of America Los Padres Council
Boy Scouts of America Heart Of New            Boy Scouts of America Louisiana Purchase
   England Council                               Council
Boy Scouts of America Heart Of Virginia       Boy Scouts of America Marin Council
   Council                                    Boy Scouts of America Mason-Dixon
Boy Scouts of America Hoosier Trails             Council
   Council                                    Boy Scouts of America Mayflower Council
Boy Scouts of America Housatonic Council      Boy Scouts of America Mecklenburg
Boy Scouts of America Hudson Valley              County Council
   Council                                    Boy Scouts of America Miami Valley
Boy Scouts of America Illowa Council             Council
Boy Scouts of America Indian Nations          Boy Scouts of America Michigan
   Council                                       Crossroads Council
Boy Scouts of America Indian Waters           Boy Scouts of America Mid-America
   Council                                       Council
Boy Scouts of America Inland Northwest        Boy Scouts of America Middle Tennessee
   Council                                       Council
Boy Scouts of America Iroquois Trail          Boy Scouts of America Mid-Iowa Council
   Council                                    Boy Scouts of America Midnight Sun
Boy Scouts of America Istrouma Area              Council
   Council                                    Boy Scouts of America Minsi Trails Council
Boy Scouts of America Jayhawk Area            Boy Scouts of America Mississippi Valley
   Council                                       Council
Boy Scouts of America Jersey Shore            Boy Scouts of America Mobile Area
   Council                                       Council
Boy Scouts of America Juniata Valley          Boy Scouts of America Monmouth Council
   Council                                    Boy Scouts of America Montana Council
Boy Scouts of America Katahdin Area           Boy Scouts of America Moraine Trails
   Council                                       Council
Boy Scouts of America La Salle Council        Boy Scouts of America Mount Baker
Boy Scouts of America Lake Erie Council          Council
Boy Scouts of America Las Vegas Area          Boy Scouts of America Mount Diablo
   Council                                       Silverado Council
Boy Scouts of America Last Frontier           Boy Scouts of America Mountaineer Area
   Council                                       Council
Boy Scouts of America Laurel Highlands        Boy Scouts of America Muskingum Valley
   Council                                       Council
Boy Scouts of America Leatherstocking         Boy Scouts of America Narragansett
   Council                                       Council
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Boy Scouts of America National Capital        Boy Scouts of America Pacific Skyline
   Area Council                                  Council
Boy Scouts of America Nevada Area             Boy Scouts of America Palmetto Council
   Council                                    Boy Scouts of America Pathway To
Boy Scouts of America New Birth Of               Adventure Council
   Freedom Council                            Boy Scouts of America Patriots’ Path
Boy Scouts of America North Florida              Council
   Council                                    Boy Scouts of America Pee Dee Area
Boy Scouts of America Northeast Georgia          Council
   Council                                    Boy Scouts of America Pennsylvania Dutch
Boy Scouts of America Northeast Illinois         Council
   Council                                    Boy Scouts of America Piedmont Council
Boy Scouts of America Northeast Iowa          Boy Scouts of America Pikes Peak Council
   Council                                    Boy Scouts of America Pine Burr Area
Boy Scouts of America Northeastern               Council
   Pennsylvania Council                       Boy Scouts of America Pine Tree Council
Boy Scouts of America Northern Lights         Boy Scouts of America Pony Express
   Council                                       Council
Boy Scouts of America Northern New            Boy Scouts of America Potawatomi Area
   Jersey Council                                Council
Boy Scouts of America Northern Star           Boy Scouts of America Prairielands Council
   Council                                    Boy Scouts of America Puerto Rico Council
Boy Scouts of America Northwest Georgia       Boy Scouts of America Pushmataha Area
   Council                                       Council
Boy Scouts of America Northwest Texas         Boy Scouts of America Quapaw Area
   Council                                       Council
Boy Scouts of America Norwela Council         Boy Scouts of America Quivira Council
Boy Scouts of America Occoneechee             Boy Scouts of America Rainbow Council
   Council                                    Boy Scouts of America Redwood Empire
Boy Scouts of America Ohio River Valley          Council
   Council                                    Boy Scouts of America Rio Grande Council
Boy Scouts of America Old Hickory             Boy Scouts of America Rip Van Winkle
   Council                                       Council
Boy Scouts of America Old North State         Boy Scouts of America Rocky Mountain
   Council                                       Council
Boy Scouts of America Orange County           Boy Scouts of America Sagamore Council
   Council                                    Boy Scouts of America Sam Houston Area
Boy Scouts of America Oregon Trail               Council
   Council                                    Boy Scouts of America Samoset Council
Boy Scouts of America Ore-Ida Council         Boy Scouts of America San Diego-Imperial
Boy Scouts of America Overland Trails            Council
   Council                                    Boy Scouts of America San Francisco Bay
Boy Scouts of America Ozark Trails               Area Council
   Council                                    Boy Scouts of America Santa Fe Trail
Boy Scouts of America Pacific Harbors            Council
   Council
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Boy Scouts of America Seneca Waterways         Boy Scouts of America Tidewater Council
   Council                                     Boy Scouts of America Transatlantic
Boy Scouts of America Sequoia Council             Council
Boy Scouts of America Sequoyah Council         Boy Scouts of America Trapper Trails
Boy Scouts of America Shenandoah Area             Council
   Council                                     Boy Scouts of America Tukabatchee Area
Boy Scouts of America Silicon Valley              Council
   Monterey Bay Council                        Boy Scouts of America Tuscarora Council
Boy Scouts of America Simon Kenton             Boy Scouts of America Twin Rivers Council
   Council                                     Boy Scouts of America Twin Valley
Boy Scouts of America Sioux Council               Council
Boy Scouts of America Snake River Council      Boy Scouts of America Utah National Parks
Boy Scouts of America South Florida               Council
   Council                                     Boy Scouts of America Ventura County
Boy Scouts of America South Georgia               Council
   Council                                     Boy Scouts of America Verdugo Hills
Boy Scouts of America South Plains                Council
   Council                                     Boy Scouts of America Voyageurs Area
Boy Scouts of America South Texas Council         Council
Boy Scouts of America Southeast Louisiana      Boy Scouts of America W.D. Boyce Council
   Council                                     Boy Scouts of America Washington
Boy Scouts of America Southern Sierra             Crossing Council
   Council                                     Boy Scouts of America West Tennessee
Boy Scouts of America Southwest Florida           Area Council
   Council                                     Boy Scouts of America Westark Area
Boy Scouts of America Spirit Of Adventure         Council
   Council                                     Boy Scouts of America Westchester-Putnam
Boy Scouts of America Stonewall Jackson           Council
   Area Council                                Boy Scouts of America Western Los
Boy Scouts of America Suffolk County              Angeles County Council
   Council                                     Boy Scouts of America Western
Boy Scouts of America Susquehanna                 Massachusetts Council
   Council                                     Boy Scouts of America Westmoreland-
Boy Scouts of America Suwannee River              Fayette Council
   Area Council                                Boy Scouts of America Winnebago Council
Boy Scouts of America Tecumseh Council         Boy Scouts of America Yocona Area
Boy Scouts of America Texas Southwest             Council
   Council                                     Boy Scouts of America Yucca Council
Boy Scouts of America Texas Trails Council
Boy Scouts of America Theodore Roosevelt
   Council
Boy Scouts of America Three Fires Council
Boy Scouts of America Three Harbors
   Council
Boy Scouts of America Three Rivers
   Council
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                                      Schedule 1(f)

                                     Secured Parties

AT&T Capital Services, Inc.
AT&T Corporation
Automation Tools, LLC
CIT Bank, N.A.
Datamax, Inc.
EverBank Commercial Finance, Inc.
Firebird Structures, LLC
Giant Bicycle, Inc.
HYG Financial Services, Inc.
ImageNet Consulting, LLC
Insight Investments, LLC
JPMorgan Chase Bank, N.A.
Kaufman Fire Protection Systems, Inc.
Key Equipment Finance
Konica Minolta Premier Finance
MB Financial Bank, N.A.
Raymond Leasing Corp
TCF Equipment Finance, Inc.
The Chase Manhattan Bank
The “Green Bar Bill” Hillcourt Foundation
The “Green Bar Bill” Hillcourt Foundation, C/O Winstead PC
TIAA Commercial Finance, Inc.
UniFi Equipment Finance, Inc.
Veristor Capital, LLC
Wells Fargo Financial Leasing, Inc.
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                                        Schedule 1(g)

                                              Banks

Banco Popular
Bank of America
BB&T
Blackrock
Charles Schwab
CIBC - First Caribbean Bank
Federated Bank
Fidelity Investments
Fifth Third Bank
First Bank - Virgin Islands
First State Bank
Goldman Sachs
InBank
JPMorgan Chase Bank, N.A.
Merrill Lynch, Pierce, Fenner & Smith, Inc.
Northern Trust Corporation
PNC Bank
RBC Bank
Regions Bank
Scotiabank
State Street Bank
TD Bank
US Bank
Wells Fargo & Company
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                                       Schedule 1(h)

                                Credit Card Processors

American Express
Authorize.net
Bank of America Merchant Services
Card Connect
Discover
Dynamic Payments
Global Payments Inc.
JPMorgan Chase Bank, N.A.
Mastercard
Moneris
Opticard
Paymentech, LLC
PayPal, Inc.
Shift4
Stripe (Shopify)
TSYS/Cayan
Valutec
Visa
Wells Fargo & Company
Wild Apricot
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                                       Schedule 1(i)

                                         Insurers

Ace Insurance Group                              Catlin Underwriting Agencies Limited
Aetna Casualty and Surety Company                Century Indemnity Company
Agricultural Excess & Surplus Insurance          Chubb Atlantic Indemnity Ltd.
    Company                                      Chubb Custom Insurance Company
Agricultural Insurance Company                   Chubb Executive Risk
AIG                                              Chubb Group of Insurance Companies
Allianz Global Corporate & Specialty SE          Cincinnati Specialty Underwriters Insurance
Allianz Global Risks US Insurance                    Company
    Company                                      Clarendon America Insurance Company
Allianz Insurance Company                        Clarendon National Insurance Company
Allianz Societas Europaea                        CNA Insurance Companies
Allied World Assurance Co.                       Colony Insurance Company
Allied World Assurance Company (U.S.),           Columbia Casualty Company
    Inc.                                         Continental Insurance Company
Allied World Assurance Company, Ltd              Endurance American Insurance Company
Alterra Excess & Surplus Insurance               Endurance American Specialty Insurance
    Company                                          Company
American Guarantee and Liability Insurance       Enstar Group Limited
    Company                                      Euclid Insurance Services, Inc.
American International Group, Inc.               Evanston Insurance Company
American Re-Insurance Company                    Everest National Insurance Company
American Zurich Insurance Company                Everest Re Group
Arch Capital Group (U.S.)                        Fairfax (US) Inc.
Arch Insurance Company                           Fairfax Financial (USA) Group
Arch Reinsurance Ltd.                            Federal Insurance Company
Argo Group International Holdings, Ltd           Fireman’s Fund Insurance Companies
Argonaut Insurance Company                       First Specialty Insurance Corporation
Argonaut Insurance Group                         First State Insurance Company
Arrowood Indemnity Company                       Gemini Insurance Company
Arrowpoint Capital Corp.                         General Star Indemnity Company
Aspen Insurance Holdings Limited                 Great American
Ategrity Specialty                               Great American Assurance Company
Ategrity Specialty Insurance Company             Great American E & S Insurance Company
AXA Insurance Company                            Great American Property and Casualty
AXA XL                                               Insurance Group
Axis Capital Holdings Limited                    Gulf Insurance Company
Axis Insurance Company                           Hallmark Specialty Insurance Company
Axis Specialty Insurance Company                 Harbor Insurance Company
Axis Surplus Insurance Company                   Hartford Accident and Indemnity Company
Beazley Insurance Company, Inc.                  Houston Casualty Company
Berkley Insurance Company                        Indemnity Insurance Company of North
Berkshire Hathaway Insurance Group                   America
California Union Insurance Company               Indian Harbor Insurance Company
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Industrial Indemnity                          St. Paul Surplus Lines Insurance Company
Industrial Insurance Company of Hawaii        Starr Indemnity & Liability Company
Insurance Company of North America            Starr Specialty
Insurance Company of the State of             Steadfast Insurance Company
    Pennsylvania (The)                        Swiss Re Group
International Insurance Company               Texas Pacific Indemnity Company
Interstate Fire & Casualty Company            The Hartford Financial Services Group, Inc.
Landmark Insurance Company                    The Hartford Fire
Lexington Insurance Company                   The Hartford Insurance Group
Liberty Insurance Underwriters, Inc.          The Hartford Steam Boiler Inspection And
Liberty Mutual Insurance Company                  Insurance Company
Liberty Surplus Insurance Corporation         The Travelers Companies, Inc.
Lloyd’s of London                             Traders and Pacific Insurance Company
London Market                                 Travelers (Bermuda) Limited
Markel American Insurance Company             Travelers Casualty and Surety Company
Markel Corporation Group                      Travelers Indemnity Company
Marsh & McLennan Companies                    Twin City Fire Insurance Company
MHBT, a Marsh & McLennan Agency               U.S. Fire Insurance Company
Munich Re Group                               Universal Re-Insurance Company Limited
Munich Reinsurance America, Inc.              Utica Mutual Insurance Company
National Casualty Company                     W. R. Berkley Corporation
National Surety Corporation                   W.R. Berkley Group
National Union Fire Insurance Company Of      Westchester Fire Insurance Company
    Pittsburgh, PA                            Westchester Surplus Lines Insurance
Navigators Group, Inc.                            Company
Navigators Insurance Company                  XL Catlin
Navigators Specialty Insurance Company        XL Europe Limited
Niagara Fire Insurance Company                XL Insurance (Dublin) Ltd.
Normandy Reinsurance Company Limited          XL Insurance Company SE
Ohio Casualty Insurance Company (The)         Zurich Financial (USA) Group
Old Republic General Group                    Zurich Financial Services Group
Old Republic Insurance Company
Old Republic Insurance Group
Pacific Employers Ins. Company
Pacific Indemnity Company
Property/Casualty Insurance Co. Of
    Hartford
RLI Professional Risk
Royal Indemnity Company
RSUI Group
R-T Specialty
Sompo - Endurance American Insurance
    Company
Sompo Holdings, Inc.
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                                      Schedule 1(j)

                                       Landlords

1040 Avenue of the Americas LLC
IRC Retail Centers
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                                                 Schedule 1(k)

                                              Litigation Parties2

90 Merrick LLC                                                 Andrew Aston
    C/O Law Office of Anthony C. Perez                         Andrew Bloom
                                                               Andrew Mannetta
Aaron Moore                                                    Andrew McMorris
Aaron Yates                                                                                    C/O Berman
ABC Insurance Corporation                                          O’Connor & Mann
Adam Herrington                                                                       C/O Pfau Cochran
                 C/O Ryder Law Firm                               Vertetis Amala PLLC
Aderion Adkisson                                                             C/O Marsh Law Firm
Adrian Senentz                                                               C/O Andreozzi & Associates,
                                                                  P.C.
                   C/O Paul Mones                                                            C/O David
                                                                  Luna
                                                                                C/O Crew Janci LLP
                            C/O Berman                         Anita Gettleson
    O’Connor & Mann                                            Anna Lee Ingram
                                                                                 C/O Patrick Noaker
                  C/O Lujan & Wolff, LLP                                       C/O Roberts Fowler &
                                                                  Visosky
            C/O Nixon, Vogelman,                                                       C/O Berman
    Slawsky & Simoneau PA                                         O’Connor & Mann
                                                                               C/O Lujan & Wolff, LLP
                                    C/O Lujan &                                       C/O Berman
    Wolff, LLP                                                    O’Connor & Mann
Alicia Lifrak                                                                    C/O Lujan & Wolff, LLP
                                                               Antonia Michelson
                /O Tremont, Sheldon,                           Aramark Campus, LLC
    Robinson, Mahoney, P.C.                                    Archbishop Christopher Pierre, Apostolic
All Saints R.C. Church                                            Nuncio of The Holy See For The United
Allegheny Highlands Council                                       States
Allen Hughes                                                   Archbishop Timothy Dolan, Archbishop of
Aloha Council Chamorro District                                   New York
Alpine Scout Camp                                              Archdiocese of New York And Our Lady of
             C/O Rubenstein & Rynecki                             Lourdes Catholic School
Andrea Watson
2
  The professionals seeking to be retained also ran the names of certain individual plaintiffs. In accordance with the
Interim Order (I) Authorizing the Debtors' to file (A) a Consolidated List of Counsel Representing the Largest
Numbers of Abuse Victims and (B) a Consolidated List of Other Unsecured Creditors of the Debtors, (III)
Authorizing and Approving Procedures for Providing Notice of Commencement, and (IV) Granting Related Relief
[Docket No. 66], in order to protect the identities of individual plaintiffs asserting abuse claims and individual
plaintiffs who are minors, certain information has been redacted from this list.
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                         C/O Robins              Bowmansville Fire Co., Inc.
   Kaplan LLP                                    Boy Scout Troop #50 of Hattiesburg,
                                                    Mississippi
                           C/O Law               Boy Scout Troop 163
    Offices Of Anthony M. Demarco                Boy Scout Troop 204 Memphis - Chickasaw
Astral Energy, LLC                                  Council - Thunderbird District
Atlanta Area Council, Inc.                       Boy Scout Troop 95
Attorney(s) ABC and Accountant(S) XYZ            Boy Scout Trust Fund
                          C/O Lujan &            Boy Scouts 11 of America
    Wolff, LLP                                   Boy Scouts of America - Hiawatha Council
Austin Boley                                     Boy Scouts of America Atlantic Area
                   C/O James Dilbeck                Council Inc.
                                                 Boy Scouts of America Atlantic Area
                       C/O Thomas Law               Council No. 331
   Office, PLLC                                  Boy Scouts of America Big Apple District
Baden-Powell Council, Inc.                       Boy Scouts of America Greater Los Angeles
Baiting Hollow Scout Camp                           Area Council
Barbara Cowles                                   Boy Scouts of America Pack 494
Beech Haven Baptist Church                       Boy Scouts of America Phoenix District
              C/O Casey Devoti &                    Troop 49
   Brockland                                     Boy Scouts of America San Diego-Imperial
                          C/O Berman                Council
   O’Connor & Mann                               Boy Scouts of America Troop 1000 Inc.
Benjamin Cudeck                                  Boy Scouts Troop #64
                                C/O              Boy Scouts Troop 460
   Berman O’Connor & Mann                        Brad Ewell
                C/O Lujan & Wolff, LLP                              C/O Thomas Law
             C/O Rebenack, Aronow,                  Office, PLLC
   Mascolo, LLP                                                   C/O Rebenack, Aronow,
                                                    Mascolo, LLP
                          C/O Lujan &            Bradley Schumann
    Wolff, LLP                                   Brandon Wood
Betty Boland, as the Administrator of The        Brazen Matson
    Estate of Ernest Boland
Big Cross Elementary School                                              C/O Paul Mones
Billie Jo Mojoinner                              Brennan Johnston
Bishop Turner High School                        Brentley Wells
Blackhawk Area Council of Boy Scouts                                     C/O Gallik,
                                                     Bremer & Molloy, P.C.
                       C/O Leisawitz             Bretty Bybee
   Heller                                                           C/O Pfau Cochran
Blue Ridge Mountains Council                         Vertetis Amala PLLC
Board of Trustees of The First Baptist                                     C/O Bonina &
   Church of Gainesville, Inc.                       Bonina, P.C.
          C/O Crew Janci LLP                     Brian P. Wagner
Bobby C. Jones
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                      C/O David Yates,          Chase Dansereau
   Thomas Juanso and Tad Thomas,                Cherokee Area Council, Inc.
   Lindsay Cordes - Thomas Law Offices          Chicago Area Council
Bronx Council                                   Chickasaw Council
Brooklyn Chinese-American Association           Chief of Police Jon Belmar
Brooklyn Council                                Chief Seattle Council
Bruce Desandre                                  Chris Alvelo
            C/O Lujan & Wolff, LLP                             C/O Crew Janci LLP
                            C/O Goff Law        Chris Larrabee
   Group                                        Chris McCullough
                            C/O Robins          Christ The King Seminary Fund, Inc.
   Kaplan LLP                                                         C/O David Yates,
Buffalo Trail Council                              Thomas Juanso and Tad Thomas,
Buffalo Trail Scout Ranch                          Lindsay Cordes - Thomas Law Offices
Calasanctius School of Buffalo                  Christina Vovchuk
Caleb Steinhoff                                                     C/O Michael G. Dowd
California Inland Empire Council                Christopher Finks
                                                Christopher Larrabee
Camille Travis
Camp Aquehonga                                                      C/O Silver Golub &
Camp Big Timber                                     Teitell LLP
Canisius High School of Buffalo                 Christopher Payne
Capuchin Franciscans                            Christopher Pelletier
Capuchin Franciscans Custody of Star of                               C/O Rebenack,
   The Sea                                          Aronow, Mascolo, LLP
Capuchin Franciscans, Province of St. Mary      Christopher Vogel
Carol Chacon                                                          C/O Crew Janci LLP
Carolyn Hemphill                                Church of The Holy Innocents
Carrie Stafford                                 Cincinnati Insurance Company
Carroll Township Police Department              Circle Ten Council
Cascade Charter Township                        Citizens’ Hose Company No. 1 of Dillsburg
Cascade Pacific Council                             Penna
Casey Scott                                     City of Columbus
Catholic Cemeteries of Roman Catholic           City of Louisville
   Diocese of Buffalo, Inc.                     City of Louisville-Jefferson County-
Catholic Health of WNY and its subsidiaries         Louisville Consolidated Government
Cathy Ostrenga                                                    C/O Javerbaum, Wurgaft,
Celeste Rone-Moss                                   Hicks, Kahn, Wikstrom & Sinins
             C/O Law Offices Of Tyler H.        Clark Martin
   Fox                                          Claudius Douglas Mair-Worley
Charles Copeland                                Clayton Historical Society
Charles Oglesby, Sr.                                                     C/O Law Offices of
Charles Stauder                                     Mitchell Garabedian
Charlie Bate                                    Clifton Neyrey
                                                CLK/HP 90 Merrick LLC
          C/O Lujan & Wolff, LLP                Clyde Noland
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CMR A/S/O Cox Communication                     Daniel Wagner
                                                Daniel Webster Council Inc.
Columbus School District                        Darla Duarte
Complaint and Michigan Crossroads               David A. Declue
   Council, Inc.                                               C/O Michael G. Dowd
Connecticut Rivers Council                                                   C/O Robins
Connecticut Rivers Council Troops 258 &            Kaplan LLP
   302                                          David Dale
Connecticut Yankee Council, Inc.                David G. Derrick
Connor Cudeck                                   David Gomes
                                      C/O       David H. Scharf
   Padberg, Corrigan & Appelbaum                David K. Buterbaugh
Continental Tire The Americas, LLC                                          C/O Goff Law
Cornelia Berrocal                                  Group
Corporation of the President of the Church      David Lannes
   of Jesus Christ of Latter-Day Saints         David McDaniel
Country Farm Supply                                          C/O Michael G. Dowd
Cradle of Liberty Boy Scouts of America         David Michelson
            C/O Crew Janci LLP                                     C/O Berman O’Connor
Craig Bingham                                      & Mann
            C/O Marsh Law Firm                               C/O Crew Janci LLP
                                     C/O                           C/O Berman O’Connor
   Berman O’Connor & Mann                          & Mann
Ct Yankee Council
Cub Scout Pack 601                              David Silva
Curtis Flaherty                                              C/O Michael G. Dowd
                       C/O Pfau Cochran                           C/O Michael G. Dowd
   Vertetis Amala PLLC                                       C/O Rebenack, Aronow,
                                                    Mascolo, LLP
                                                              C/O Riddle & Brantley
Dan McGill                                                     C/O Michael G. Dowd
Daniel Boone Council Inc.                                              C/O Lujan &
Daniel Camerano                                     Wolff, LLP
                              C/O               Debra Schwamberger
   Hirshfield & Costanzo, P.C.                  Dechaison White
                     C/O Berman                 Denis Lane
   O’Connor & Mann                                                   C/O Paul Mones
                   C/O Michael G. Dowd          Dillsburg Community Fair Association
               C/O Michael G. Dowd              Dillsburg Lions Club And Dillsburg Boy
                      C/O Berman                    Scout Troop #38
   O’Connor & Mann                              Diocese of Brooklyn
Daniel P. Sturtzel                              Dolores Snyder
Daniel Richardson                               Donald C. Shriver
                      C/O Lujan & Wolff,        Donald Grande
   LLP                                          Donald J. Hebert
              C/O Marsh Law Firm
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                          C/O Crew           Eric L. Young, Administrator of The Estate
   Janci LLP                                     of Christopher Alvelo
                  C/O Lujan & Wolff,         Eric R. Park
    LLP                                      Essex County Council of The Boy Scouts of
Doug Stevenson                                   America
              C/O Rebenack, Aronow,          Estate of Robert Whitelaw, Deceased
    Mascolo, LLP                             Ethan Fuller
                   C/O Michael G. Dowd       Ethan Rapier
Douglas Nail                                                             C/O Lujan &
                C/O Rebenack, Aronow,            Wolff, LLP
    Mascolo, LLP                             Evan Park Howell, Iii
                               C/O Crew                                       C/O
    Janci LLP                                    Berman O’Connor & Mann
Dwight Cable                                                           C/O Berman
                          C/O Van Zanten         O’Connor & Mann
    & Onik, LLC                              Evergreen Area Council, Boy Scouts of
                      C/O Edmiston &             America
    Colton Law Firm                          Fabian Lopez
Eamonn Ferrante                              Fairfield County Council of Boy Scouts of
East Meadow Youth Baseball & Softball            America, Inc.
    Association                              Fayetteville United Methodist Church
Ed Miller                                                           C/O Berman
Eddie Blue                                       O’Connor & Mann
Edgar Riecke                                                  C/O Lujan & Wolff, LLP
                C/O Michael G. Dowd          First Baptist Church of Athens
                 C/O Simmons Hanly           First Baptist Church of Danville D/B/A Boy
    Conroy                                       Scout Troop 354
                C/O John Tidwald Tidwald     First Baptist Church of Gainesville
    Law                                      Five Rivers Council Inc.
Edward M. Bednarczyk                         Floodwood Mountain Scout Reservation
Edward Perriera                                  Association, Inc.
                           C/O Lujan &       Ford Motor Company
    Wolff, LLP                               Francis (Skip) Toomey Ii
                   C/O Rebenack, Aronow,
    Mascolo, LLP                                                     C/O Lujan &
                          C/O Lujan &           Wolff, LLP
    Wolff, LLP                                                      C/O Roberts
Elijah Knight                                   Fowler & Visosky
Elliott Litz                                                 C/O Lujan & Wolff, LLP
Elwood Union Free School District                         C/O Rebenack, Aronow,
Emely Santos                                    Mascolo, LLP
                      C/O Thomas C.                               C/O Berman
    Patton                                      O’Connor & Mann
Emma O’Connor                                Frank Pedone
             C/O Rebenack, Aronow,                           C/O Lujan & Wolff, LLP
    Mascolo, LLP
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               C/O Michael G. Dowd             Greater Niagara Frontier Council
                        C/O Berman             Greater Niagara Frontier Council #380 of
   O’Connor & Mann                                The Boy Scouts of America
                           C/O Crew Janci      Greater St. Louis Area Council, Boy Scouts
   LLP                                            of America, Inc.
                           C/O Berman          Greater Tampa Bay Area Council, Inc.
   O’Connor & Mann                             Greater Yosemite Council, Inc.
G.A.C.                                         Greek Orthodox Archdiocese of America
      C/O Dreyer Boyajian                      Green Acres Baptist Church
Gabriel Racine                                 Greenport Fire Department
Gage Wilson                                    Greg Day
Garden State Council
Gary Ackerman
Gary Carroll                                                            C/O Crew Janci
               C/O Crew Janci LLP                 LLP
                     C/O Berman                Greg Ploski
   O’Connor & Mann                                                   C/O Berman
Gary L Strain                                     O’Connor & Mann
Gary Langsdale                                                              C/O Lujan &
                                       C/O        Wolff, LLP
   Hall Law, P.A.
                     C/O Lujan & Wolff,                          C/O Michael G. Dowd
   LLP                                         Guy Rollf
                    C/O Berman O’Connor        Guy Thomas Buker
   & Mann                                      Hacker Coverage Dispute
George D. McClay                               Harley Avenue Primary School
                        C/O Berman                         C/O Robins Kaplan LLP
   O’Connor & Mann
                        C/O Berman                         C/O Javerbaum, Wurgaft,
   O'Connor & Mann                                Hicks, Kahn, Wikstrom & Sinins
George J. Eberl                                              C/O Riddle & Brantley
Geovanni McClain
             C/O Rubenstein & Rynecki                                   C/O Gruel Mills
                     C/O Lujan & Wolff,           Nims & Pylman PLLC
   LLP                                         Hawk Mountain Council, Inc., Boy Scouts
Glens Falls City School District                  of America
Gloria Garcia                                  Hawkeye Area Council, Boy Scouts of
Governor Clinton Council, Inc., Boy Scouts        America, An Iowa Corporation
   of America                                  Heart of America Council
Grace Gordon                                   Heart of New England
Grand Canyon Council                           Heart of Virginia Council, Inc., Boy Scouts
Great Alaska Council                              of America
Great Salt Lake Council                        Heath Faucheux
Great Southwest Council                        Henry Reinsburrow
Greater Alabama Council                        Holy Family Church
Greater New York City Councils                 Holy See Instrumentalities
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Holy See, State of Vatican City - The          James T. Grace Jr.
   Vatican                                                       C/O Law Offices Of
House of Hope Presbyterian Church                  Mitchell Garabedian
                            C/O Roberts                   C/O Lujan & Wolff, LLP
   Fowler & Visosky                                           C/O Jeff Anderson &
                C/O Crew Janci LLP                 Associates, PA
                           C/O Lujan &         Jane Sutterlin
   Wolff, LLP                                  Janessa Miller
Hudson Valley Council                          Jarred Pai
Hunter Iverson                                 Jasiah Marshall

Ian Simpson                                    Jason Hofmann
                          C/O Berman                          C/O Berman O’Connor &
    O’Connor & Mann                                Mann
Immaculate Conception R.C. Church              Jason R. Brockman
Indian Waters Council Boy Scouts of                                                 C/O
    America Inc.                                   Merson Law
Iroquois Trail Council Inc.                                 C/O Merson Law
Irwindale Police Department                    Jayshawn Brown
Istrouma Area Council                          Jefferson County
     C/O Marsh Law Firm                        Jefferson County / Louisville Consolidated
J.E. Mathis                                        Government
                       C/O Brautigam &         Jeffery Leonard And Individual
    Brautigam, LLP                                             C/O Green & Gillispie
          C/O Bradley L. Rice                                                 C/O Robins
Jack Rose                                          Kaplan LLP
                                                              C/O Rebenack, Aronow,
Jacob Nelson                                       Mascolo, LLP
                      C/O Lujan &                                             C/O Robins
   Wolff, LLP                                      Kaplan LLP
           C/O Green & Gillispie               Jersey Shore Council
             C/O Lujan & Wolff, LLP            Jesse Bessette
James Gambrell King                                             C/O Berman O’Connor &
                                                   Mann
                 C/O Marsh Rickard &                                 C/O Lujan & Wolff,
   Bryan                                           LLP
               C/O Crew Janci LLP                                  C/O Berman O’Connor
James Kennedy                                      & Mann
            C/O The Panitch Law Group,                            C/O Berman O’Connor &
   P.C.                                            Mann
                  C/O Michael G. Dowd          Jessie Tomeo
            C/O Law Offices Of Mitchell                           C/O Berman O’Connor &
   Garabedian                                      Mann
James Potjunas                                                         C/O Eisenberg
                                                   Rothweiler, Winkler, Eisenberg & Jeck,
James Stillwell, Jr.                               P.C.
            Case 20-10343-LSS    Doc 6287-2   Filed 09/17/21    Page 45 of 76




                    C/O Marsh Law Firm                           C/O Law Office of
Joanne Nauheimer (Class Action)                  Patrick Sorsby
Joanne Nauheimer (Individual)                 Jonathan Dunn
                          C/O Lujan &                        C/O Andrew S. Janet
   Wolff, LLP                                                C/O Andreozzi &
                        C/O Lujan &              Associates, P.C.
   Wolff, LLP
                                              Joseph Alvarado
Joel Shumway                                                        C/O Berman
John B. Lowell                                   O’Connor & Mann
John Cimral                                                C/O Law Offices of Mitchell
           C/O Roberts Fowler & Visosky          Garabedian
                      C/O Dumas Law                                 C/O Berman
    Group, LLC (A/K/A Dumas & Vaughn             O’Connor & Mann
    Attorneys at Law)                                             C/O Lowey
John Gruber                                      Dannenberg, P.C.
             C/O Michael G. Dowd                                        C/O Berman
                                                 O’Connor & Mann
John J. Beardsworth, Jr.                      Joseph F. Snyder
            C/O Davis Miles McGuire                              C/O Berman O’Connor
   Gardner                                       & Mann
John Jones                                                            C/O Lujan &
                                                 Wolff, LLP
                                              Joseph L. Snyder
                    C/O Lujan & Wolff,                         C/O Law Offices of
   LLP                                           Mitchell Garabedian
John Lund
                     C/O Berman                             C/O Soloff & Zervanos, P.C.
   O’Connor & Mann                            Joseph Porter and Gail Porter
                       C/O Berman                                    C/O Lujan & Wolff,
   O’Connor & Mann                                LLP
             C/O Okun, Oddo & Babat,                                   C/O Lujan &
   P.C.                                           Wolff, LLP
              C/O Lujan & Wolff, LLP          Joseph Tetlow
                                                                  C/O Berman O’Connor
                       C/O Lujan &                & Mann
   Wolff, LLP                                                        C/O Berman
                          C/O Goff Law            O’Connor & Mann
   Group                                                    C/O Michael S. Steinger
John Richers                                  Joshua Goodwin
             C/O Rebenack, Aronow,            Joshua P. Christ
   Mascolo, LLP                               Joshua Simpson
                      C/O Paul Mones          Joshua White
          C/O Michael G. Dowd                 Judy Crawford
              C/O Lujan & Wolff, LLP          Julie Hedrick
                                              Julie Schmidt
          Case 20-10343-LSS      Doc 6287-2   Filed 09/17/21      Page 46 of 76




              C/O Patrick Malone &                             C/O Law Office of David
   Associates, P.C.                              Jaskowiak
                             C/O                                           C/O Crew
   Hirshfield & Costanzo, P.C.                   Janci LLP
                                              Kristopher Bartee
                         C/O Clark, Hunt,     Kyle Boell
   Ahern & Embry                                                   C/O John P. Connor
Kaden Lynch
Kalin Bart Talbott River Road Trust                       C/O Law Office of Mark
Kalvin Marshall                                  Gallagher
Karin Larrabee                                Landon Bassett
Karina Miller                                              C/O Rebenack, Aronow,
                       C/O David Yates,          Mascolo, LLP
   Thomas Juanso and Tad Thomas,
   Lindsay Cordes - Thomas Law Offices                              C/O Berman
Kathleen Hufford                                  O’Connor & Mann
Kathryn (Katie) Schulze                       Las Vegas Area Council, Inc.
                                              Laurie Buckelew
                                                                C/O Green & Gillispie
                                              Lawrence Svrcek
Keegan Day                                    Leanna Stanley
             C/O Andreozzi & Associates,      Learning For Life Inc.
   P.C.                                       Leatherstocking Council
            C/O Panish Shea & Boyle LLP       Lebanon Lions Club
                                              Lee Shedroff
                C/O James, Vernon &           Leo Kelly
   Weeks, P.A.                                            C/O Lujan & Wolff, LLP
Kellie Bogardus                               Lincoln Heritage Council
              C/O Rebenack, Aronow,           Linda Davis
   Mascolo, LLP                               Linda Fant
Kenneth Betts                                 Linda Jensen
                            C/O Berman        Lindsay Bishop
   O’Connor & Mann                            Lisa C. Crocus
           C/O Crew Janci LLP                 Lloyd Bryant
Kent L. Wallace                                               C/O Law Offices of Gregory
Kerrie Galvin (Obo Trevor Galvin)                 J. Stacker, LLC
             C/O Rubenstein & Rynecki         Logan Bogardus
                                              Logan Larrabee
Keystone College                              Logan Mackay
Kimberly Payne                                Longhouse Council
Kincaid Tyas
Kireon D. Pleis                                                              C/O Robins
                   C/O Berman O’Connor           Kaplan LLP
   & Mann                                     Louisville Metro Police Department
                                                                 C/O Berman O’Connor
                                                 & Mann
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Luke Bennett                                                 C/O Herman Law
     C/O Bonina & Bonina, P.C.                Matthew Gelhausen
Madison Osborne                               Matthew Inbody
                         C/O Lujan &          Matthew McClay
   Wolff, LLP                                 Matthew S. Devore
Malcolm Boykin                                Matthew Teixeira
Malmaison District                            Matthew Yakaboski
Manhattan Council, Boy Scouts of America                             C/O Pfau Cochran
                           C/O Lujan &           Vertetis Amala PLLC
   Wolff, LLP                                 Max Moon
                     C/O Lujan & Wolff,       Maya Cann
   LLP                                        Mayflower Council
Marc Anderson                                                        C/O Berman
Marco Romero                                     O’Connor & Mann
Marcus Kang                                   Megan Knoernschild
Marcus Mack                                                 C/O Lujan & Wolff, LLP
                                                                   C/O Berman
                  /O Rebenack, Aronow,           O’Connor & Mann
   Mascolo, LLP                               Micah Hattaway
Marjorie Bewley
Marjorie Morris                                                            C/O Clark,
                   C/O Lujan & Wolff,            Hunt, Ahern & Embry
   LLP                                                           C/O Law Office of
                     C/O Lujan & Wolff,          Anthony C. Perez
   LLP                                                      C/O Michael G. Dowd
Mark Helser and Jane Doe Helser                                      C/O Pfau Cochran
Mark Kern                                        Vertetis Amala PLLC
                        C/O Berman            Michael Frys
   O’Connor & Mann
                        C/O Berman                                   C/O Crew Janci
   O’Connor & Mann                               LLP
                    C/O Lujan & Wolff,                         C/O Michael G. Dowd
   LLP                                        Michael Kelsey
Mark Tibbetts
Mark Tumeo
Mark Vincett                                                            C/O Hall &
                       C/O Lujan &               Monagle, LLC
   Wolff, LLP                                 Michael Maffetone

Mathew Zaiss                                             C/O Roberts Fowler & Visosky
Matt Day
                  C/O Berman O’Connor &                  C/O Berman O’Connor &
   Mann                                          Mann
                                                                     C/O Gallik,
                       C/O Pashman               Bremer & Molloy, P.C.
   Stein Walder Hayden, P.C.                                  C/O Michael G. Dowd
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                             C/O Lujan &                          C/O Lujan & Wolff, LLP
   Wolff, LLP
Michael Rega                                                                       C/O
                C/O Crew Janci LLP                  Clark, Hunt, Ahern & Embry
                       C/O Lujan &                                C/O Michael G. Dowd
   Wolff, LLP                                    North Florida Council
                 C/O Janet, Janet & Suggs,       Northeast Georgia Council, Inc.
   LLC                                           Northeastern Pennsylvania Council
Michael Sandifer                                 Northern New Jersey Council
              C/O Marsh Law Firm                 Northern Star Council

Michelle Delutri                                                 C/O Rubenstein & Rynecki
Michigan Crossroads Council, Inc.                Old Republic Insurance Company, Inc.
Mid-America Council                              Omega Pacific, Inc.
Middle Tennessee Council                         Orange County Council
                                                 Orange County Rowing Club
                           C/O Dumas Law         Oregon Trail Council, Inc.
   Group, LLC (A/K/A Dumas & Vaughn                                             C/O Robins
   Attorneys at Law)                                Kaplan LLP Our Savior Lutheran Church
Miles Woolsey                                         C/O Roberts Fowler & Visosky Parker
Monastery of Christ In The Desert                Irey
Monmouth Council                                 Pat Currie
Monsignor Michael Harrington                     Pathway To Adventure Council Patricia
Monsignor William Stanton                        Donehue
Montana Council                                  Patricia Gerber
                        C/O Michael G.           Patrick A. Mancuso
   Dowd
Mossy Ford, Inc.                                                 C/O The Law Office of
Most Reverend Edward U. Kmiec                        Carmen L. Durso
Most Reverend Henry J. Mansell                                            C/O Berman
Most Reverend Richard J. Malone                      O’Connor & Mann
    C/O Belluck & Fox, LLP                                          C/O Rebenack, Aronow,
                          C/O Crew Janci             Mascolo, LLP
   LLP                                                          C/O Gregory J. Cannata &
New York Greater Councils                            Associates, LLP
Newport Sea Base - Orange County Council         Patriots’ Path Council
Niagara Frontier Council, Boy Scouts of                              C/O Berman O’Connor
   America                                           & Mann
                      C/O David Yates,           Paul Antosh
   Thomas Juanso                                 Paul Brandon Paris
Nina Baldinucci                                                    C/O Lujan & Wolff, LLP
Nipmuck District of the Connecticut Rivers       Paul R. Thomson, Jr.
   Council of The Boy Scouts of America                                    C/O Berman
                                                     O’Connor & Mann
                  /O Giancarlo R. Cellini        Paul Scarola
Nolan Henderson
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                     C/O Lujan & Wolff,                                C/O Lujan &
   LLP                                            Wolff, LLP
                  C/O Lujan & Wolff, LLP                                 C/O Berman
                                                  O’Connor & Mann
                       C/O Crew Janci                                     C/O Lujan &
   LLP                                            Wolff, LLP
Pauline Jenkins                                Reckson Operating Partnership, L.P
                      C/O Lujan &              Red Mountain Asset Fund, LLC
   Wolff, LLP                                  Regina McCullough
Penn Mountains Council                                                 C/O Dumas Law
Penny Nomura                                      Group, LLC (A/K/A Dumas & Vaughn
                   C/O Berman                     Attorneys at Law)
   O’Connor & Mann                             Regis High School
            C/O Law Office of Anthony          Reid Comita
   C. Perez                                    Reilly Nahill
                                               Rev. Basil Ormsby, S.J.
                     C/O Lujan & Wolff,        Rev. David Bialakowski
   LLP                                         Rev. Donald W. Becker
Peter Rymut                                    Rev. Florian Jasinski
                    C/O Lujan & Wolff,         Rev. Frederick Fingerle
   LLP                                         Rev. Gerald Jasinski
              C/O Crew Janci LLP               Rev. John P. Hajduk
               C/O Michael G. Dowd             Rev. Joseph Persich, S.J.
                C/O Paul Mones                 Rev. Nelson Kinmartin
Pierce Hull                                    Rev. Norbert Orsolits
Pine Burr Area Council, Inc.                   Rev. Ronald Sajak
Police Officer Annette Hoyt                    Rev. Ronald Silverio
Polly Root                                     Rev. Theodore Podson
Pope Francis                                   Rev. William White
Progressive Casualty Insurance Company                                  C/O Dumas Law
Quapaw Area Council                               Group, LLC (A/K/A Dumas & Vaughn
Queen of Peace R.C. Church                        Attorneys at Law)
Queens Council                                                       C/O Berman O’Connor
R. Fleming Weaver, Jr.                            & Mann
                             C/O Berman                                C/O Lujan & Wolff,
    O’Connor & Mann                               LLP
                                                          C/O Crew Janci LLP
                      C/O Pfau Cochran
   Vertetis Amala PLLC                                        C/O Michael G. Dowd
Randolph “Randy” Nowak                                            C/O Berman O’Connor
                    C/O John P. Connor            & Mann

Raul Cadena                                    Richard L. Lucero
         C/O Marsh Law Firm
              C/O Crew Janci LLP               Richard Lehr
               C/O Michael G. Dowd
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                C/O Panish Shea & Boyle,
   LLP                                                                     C/O Lujan &
Richard Mathews                                   Wolff, LLP
                                               Roberts. Talbott Revocable Trust
                     C/O Crew Janci LLP
                                                                   C/O Crew Janci LLP
   C/O Berman O’Connor & Mann                                        C/O Berman
                  C/O Marsh Law Firm              O’Connor & Mann
Richard Robbins                                                                C/O
Richard Rognsvoog                                 Lujan & Wolff, LLP

                                C/O Paul                      C/O Crew Janci LLP
   Mones                                                          C/O Berman O’Connor
                                                  & Mann
             C/O Dumas Law Group, LLC          Roman Catholic Archbishop
   (A/K/A Dumas & Vaughn Attorneys at          Roman Catholic Archbishop of Agana
   Law)                                        Roman Catholic Archdiocese of New York,
River Rivers Council, Boy Scouts of               Archdiocese of New York
   America                                                                C/O The
                          C/O Crew Janci          Panitch Law Group, P.C.
   LLP                                         Ronald Hegwood
             C/O Michael G. Dowd                             C/O Emery Celli
Robert Bulens                                     Brinckerhoff & Abady LLP
                  C/O The Law Office of                              C/O Lujan &
   Carmen L. Durso                                Wolff, LLP
                       C/O Berman
   O’Connor & Mann                                              C/O Michael G. Dowd
Robert Hallum                                  Ronnie Mason
Robert Jorgensen                                                  C/O Berman O’Connor
            C/O Peabody, Stirling, Hale &         & Mann
   Miller LLP                                                     C/O Roberts Fowler &
                C/O Rebenack, Aronow,             Visosky
   Mascolo, LLP                                              C/O Lujan & Wolff, LLP
Robert Logan Talbott River Road Trust                                   C/O Berman
                                                  O’Connor & Mann
                  C/O Parker Waichman                              C/O Berman O’Connor
   LLP                                            & Mann
                   C/O Marsh Law Firm          Ruth Kvistad
                                 C/O                C/O Bonina & Bonina, P.C.
   Dumas Law Group, LLC (A/K/A Dumas           Sacred Heart - Espanola
   & Vaughn Attorneys at Law)                  Saint John The Baptist Church
                       C/O Marsh Law                                        C/O Goff
   Firm                                           Law Group
               C/O Crew Janci LLP              Salvador Rivera
Robert Sutterlin                               Sam Houston Area Council
Robert Talbott, Inc                            Sam Houston Area Council Phoenix District
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Samuel Christian Carelton                     Southeast Louisiana Council
Samuel Roche                                  Southern California Scullers Club
San Gabriel Valley Council                    Southern Shores Field Service Council
Sandy Potjunas                                Southwest Bartholomew Volunteer Fire
Sarah Case Talbott River Road Trust               Department, Inc.
SC Boy Scouts Council Inc.                    St. Benedict Joseph Labre Church
School Sisters of Notre Dame Central          St. Benedict Joseph Labre School
   Pacific Province, Inc.                     St. Brigid R.C. Church
School Sisters of Notre Dame, Region of       St. Catherine’s Roman Catholic Church
   Guam                                       St. Catherine’s Roman Catholic Church
            C/O Lafave, Wein & Frament,           School
   PLLC                                       St. Demetrios Greek Orthodox Church
                                              St. Francis of Assisi Roman Catholic
                            C/O Clark,            Church
   Hunt, Ahern & Embry                        St. Francis Xavier Church
             C/O Michael G. Dowd              St. Helena Parish
                                              St. John Gualbert R.C. Church
Scott Michelson                               St. John Vianney R.C. Church
             C/O Crew Janci LLP               St. Joseph Investment Fund, Inc.
Scout Troop 4200                              St. Josephats R.C. Church
Second Baptist Church                         St. Paul’s R.C. Church
Seneca Waterways Council, Boy Scouts of       St. Teresa R.C. Church
   America
Sequoia Council                               Stanley Bassett
Sergeant Konrad Wojciehowski                                          C/O Eisenberg
                  C/O Berman O’Connor             Rothweiler, Winkler, Eisenberg & Jeck,
   & Mann                                         P.C.
                                              State of Wisconsin
             C/O Dumas Law Group, LLC         Stephanie K. Jones
    (A/K/A Dumas & Vaughn Attorneys at        Stephanie Regalia
    Law)
Sharon Giovingo                                             C/O Crew Janci LLP
Sharon Richardson
                                 C/O                        C/O Law Offices of Mitchell
    Dumas Law Group, LLC (A/K/A Dumas            Garabedian
    & Vaughn Attorneys at Law)                                  C/O Hart McLaughlin &
Shawn Pelletier                                  Eldridge
               C/O Simmons Hanly Conroy       Stephen White
Sheree Dodge                                  Stephen Zanetti
Sherrilynn Wood                                                           C/O Dumas
Sherrye Howell                                   Law Group, LLC (A/K/A Dumas &
Shirley Williams                                 Vaughn Attorneys at Law)
Silicon Valley Monterey Bay Council                                    C/O The Panitch
Skylar Prestano                                  Law Group, P.C.
Sleepy Hollow Vineyards, L.P.                                C/O Crew Janci LLP
Society of Jesus, USA-Northeast Province      Steve Stenger
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Steven Harris                                  The Roman Catholic Diocese of Syracuse,
Steven N. Brown                                   NY
Strawbridge United Methodist Church            The School Sisters of Notre Dame
             C/O Michael G. Dowd                  Milwaukee Providence, Inc.
               C/O Michael G. Dowd             The Temple Congregation Adath Israel-
Suffolk County Council                            B’rith Sholom Inc.
Suffolk County Policy Department               The Town of Hempstead
                   C/O Berman O’Connor         Theodore Roosevelt Council
    & Mann                                     Theresa Kennedy
Susan Burk                                     Thomas Bogardu
Susan Reisinger                                                     C/O Lujan & Wolff,
Susanna Otto                                      LLP
Susquenango Council                            Thomas Doering
Sussex District Boy Scouts of America          Thomas Kiely
T.B.C.P.C
T.B.S.O.A.I.                                   Thomas Lane
     C/O Herman Law                            Thomas Larry
       C/O Lujan & Wolff, LLP                  Thomas M. Thackeray
Tanner Bailey                                                C/O Michael G. Dowd
Ten Mile River Scout Camps A/K/A Ten                            C/O Gibson, McAskill &
    Mile River Scout Camps, Boy Scouts of         Crosby, LLP
    America                                    Thomas Scott
                      C/O Pfau Cochran                                C/O Dumas Law
    Vertetis Amala PLLC                           Group, LLC (A/K/A Dumas & Vaughn
Terry A. Wright                                   Attorneys at Law)

                          C/O Clark, Hunt,     Three Fires Council
   Ahern & Embry                               Tidwald Law
Terry Zellers                                  Tiffany Riggs
Thad Alton                                                C/O Rebenack, Aronow,
The Blessed Trinity R.C. Church                    Mascolo, LLP
The Church of Jesus Christ of Latter Day                   C/O Crew Janci LLP
   Saints                                                               C/O Paul Mones
The City of Irwindale                          Timothy Black C/O Law & Moran,
The County of Nassau                               Attorneys at Law
The Diocese of Rochester                       Timothy Fedor
The Estate of F.E. (Gene) Bobo                                            C/O Berman
The Fidelis Care as a Trademark for the            O’Connor & Mann
   Centene Corporation                         Timothy Savage
The Foundation of The Roman Catholic
   Diocese of Buffalo, N.Y., Inc.                           C/O Crew Janci LLP
The Hamlet of East Meadow                      Todd Puccio
The Hartford Insurance Group                   Tom Hartmann
The National Boy Scouts of America             Tomas A. Camacho
   Foundation                                  Town of Deerfield
                                               Town of Trumbull
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Trapper Trails Council
                C/O Green & Gillispie                                       C/O
Travis Leppi                                     Dumas Law Group, LLC (A/K/A Dumas
Trent Herlihy                                    & Vaughn Attorneys at Law)
Trevor B. Paulson                             William Bewley
                           C/O Crew Janci     William Brannon
   LLP                                        William Edward Bewley
Troop #7354                                                  C/O Crew Janci LLP
Troop 141 BSA                                                  C/O Green & Gillispie
Twin Rivers Council                           William Greenwald
Union United Methodist Church                 William Hoke
United Services Automobile Association                             C/O Paul Mones
Unitedhealthcare Insurance Company                             C/O Crew Janci LLP
USA Northeast Province of The Society of                    C/O Robins Kaplan LLP
   Jesus
                              C/O Law         William Pugh
   Offices of Anthony M. Demarco              William Pugh Jr
Valerie Mcgriff (Gawle)                       William Rick Bailey
Varteni Yerjanian                             William Rish Jr
Vern Iverson                                  William Ruscoe
Vernon Wunnenberg                                             C/O Crew Janci LLP
                      C/O Lujan & Wolff,                       C/O Rebenack, Aronow,
   LLP                                           Mascolo, LLP
               C/O Lujan & Wolff, LLP         William Short
                          C/O Lujan &                         C/O Green & Gillispie
   Wolff, LLP
                     C/O Lujan & Wolff,                        C/O Parker Waichman LLP
   LLP
Victor Caps
                     C/O David Luna
Vincent Liberto                                              C/O Rubenstein & Rynecki
                  C/O Andrea E. Bonina        XYZ Corporation
Virgil Sanders                                XYZ Corporation 1-100
Virginia Adkins                               XYZ Entities 1-100
Walgreen Company                              XYZ Insurance Corporation
                C/O Rebenack, Aronow,         Yucca Council
   Mascolo, LLP                               Zachary Babel
Washington Crossing Council
Wayne Farrar                                                                    C/O
                     C/O Berman O’Connor         Clark, Hunt, Ahern & Embry
   & Mann                                     Zachary Schmidt
Weedsport Central School District             Zachary Spahr
Westchester Putnam Council                    Zorro Ragsdale
Westlake Hills Presbyterian Church
              C/O Crew Janci LLP
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                                       Schedule 1(l)

                       Professionals to be Retained by the Debtors

Alvarez & Marsal North America, LLC
Bates White LLC
Haynes & Boone, LLP
KCIC, LLC
Morris, Nichols, Arsht & Tunnell LLP
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
Omni Agent Solutions
Sidley Austin LLP
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                 Professionals Representing Certain Parties in Interest

AlixPartners LLP
Ankura Consulting Group, LLC
Berkeley Research Group, LLC
Kramer Levin Naftalis & Frankel LLP
Norton Rose Fulbright US, LLP
Pachulski Stang Ziehl & Jones
PJT Partners, Inc.
Wachtell, Lipton, Rosen & Katz
Young Conway Stargatt & Taylor, LLP
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                                       Schedule 1(n)

                              Ordinary Course Professionals

An, Tian, Zhang & Partners                      Mead & Hunt, Inc.
Bassford Remele PA                              Melick Porter, LLP
BAX Advisors LLC                                Miller & Martin PLLC
Bays Lung Rose Holma Attorneys at Law           Miller, Johnson, Snell & Cummiskey, P.L.C.
Bond, Schoeneck & King PLLC                     Milliman Inc.
Boone Karlberg P.C.                             Milliman USA Inc.
Carolina Fridman Law Corporation                Mitchell Garabedian Attorney
CCPIT Patent & Trademark Law Office             Mitchell, Williams, Selig, Gates &
Christopher T Hurley & Associates P.C.              Woodyard, P.L.L.C
Civille & Tang PLLC                             MNP LLP
Clarke Silverglate P.A.                         Nicholas W Mulick PA
Connell Foley LLP                               Nigro Karlin Segal & Feldstein
Cranfill Sumner & Hartzog LLP                   Park Dietz & Associates, Inc.
Crotty & Schiltz LLC                            Perkins Coie
Dentons US LLP                                  PricewaterhouseCoopers LLP
Foland, Wickens, Roper Hofer &                  Quinn Emanuel Urquhart & Sullivan LLP
   Crawford, P.C.                               Ruhter & Reynolds, Inc.
Fox Rothschild LLP                              Saul Ewing LLP
Gerolamo Mcnulty Divis & Lewbart, P.C.          Scheper Kim & Harris, LLP
Grefe & Sidney, P.L.C.                          Sheehy Ware & Pappas PC
Gruber Thomas & Co.                             Sitlinger & Theiler
Harper & Pearson                                Steptoe & Johnson PLLC
Hawley Troxell Ennis & Hawley LLP               Stich, Angell, Kreidler, Dodge & Unke, P.A.
Hecht, Latham Spencer & Associates, Inc.        Stillwell Midgley PLLC
Heplerbroom LLC                                 Stites & Harbison PLLC
Herman Law Firm P.A. Trust Account              Taylor, Porter, Brooks & Phillips, L.L.P.
Hinshaw & Culbertson LLP                        Texas Medical Legal Consultants
Howard & Co., LLP                               Thompson Coe & O’Meara LLP
Hueston Hennigan                                Towers Watson Delaware, Inc.
Keleher & McLeod PA, Attorneys at Law           Upshaw Williams Biggers
Keller & Almassian, PLC                         Vinson & Elkins LLP
Kipp and Christian, P.C.                        White and Williams LLP
Kosnoff Fasy PLLC Trust Account                 Whitney Smith Company Inc.
LCG Associates, Inc.                            Wicker, Smith, O’Hara, McCoy, & Ford, PA
Lightfoot Franklin & White LLC                  Wiggin & Dana LLP
Locke Lord LLP                                  Wilson Elser Moskowitz Edelman & Dicker
Mandell Menkes, LLC                                 LLP
Mark Gallagher Attorney                         Winston & Strawn LLP
Markowitz Herbold PC
McAngus Goudelock & Courie
McGuire Woods LLP
McGuire, Craddock & Strother, P.C.
McLane Middleton, Prof. Assoc.
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                                     Schedule 1(o)

                              Tort Claimants Committee

Christopher Desmond Haywood
Douglas A. Kennedy
John Humphrey
Jorge Tabon
Jorge Vega
Morgan Wade Paul
Richard Halvorson
Robb Lawson
Robert Grier
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                                        Schedule 1(p)

                              Unsecured Creditors Committee

Girl Scouts of the United States of America
Lion Brothers Company Inc.
Pearson Education, Inc.
Pension Benefit Guaranty Corporation
Roger A. Ohmstede
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                                    Schedule 1(q)

    Top 25 Plaintiffs’ Law Firms Representing the Largest Number of Abuse Victims
                          Asserting Claims Against the Debtors

Andreozzi & Associates, P.C.
Ava Law Group, Inc.
Bondurant, Mixson & Elmore, LLP
Crew Janci LLP
Dumas Law Group, LLC (A/K/A Dumas & Vaughn Attorneys at Law)
Eisenberg Rothweiler, Winkler, Eisenberg & Jeck, P.C.
Green & Gillispie
Gregg, Hunt, Ahern & Embry Attorneys at Law
Hurley McKenna & Mertz, P.C.
Jeff Anderson & Associates, PA
Kosnoff Law
Law Offices of Mitchell Garabedian
Lindsay Hart, LLP
Lujan & Wolff, LLP
Marsh Law Firm
Merson Law
Michael G. Dowd
Paul Mones
Penn Law Group
Pfau Cochran Vertetis Amala PLLC
Rebenack, Aronow, Mascolo, LLP
Robins Kaplan LLP
Rubenstein & Rynecki
Sweeny Reich & Bolz, LLP
Thomas Law Office, PLLC
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           Top 30 General Unsecured Creditors of the Debtors (Non-Abuse Claims)3

American Engineers & Contractors
Anne Terry
Bradley Farmer
C. Michael Hoover Jr.
C. Wayne Brock

David J. Ross II
Donald McChesney
Gary Butler
Hugh Travis
Jeffrey Hunt
John Green
Judith Ratcliffe
Kathy Sue Stone
Kenneth L. Connelly
Michael Surbaugh
NCS Pearson, Inc.

Quad/Graphics, Inc.
Raymond L. Blackwell
Richard Lehr
Robert J. Mazzuca
Robert Tuggle
Roy L. Williams
Thomas H. Fitzgibbon
Thomas Harrington
Thomas Varnell




3 The professionals seeking to be retained also ran the names of certain individual plaintiffs. In accordance with the
Interim Order (I) Authorizing the Debtors' to file (A) a Consolidated List of Counsel Representing the Largest
Numbers of Abuse Victims and (B) a Consolidated List of Other Unsecured Creditors of the Debtors, (III)
Authorizing and Approving Procedures for Providing Notice of Commencement, and (IV) Granting Related Relief
[Docket No. 66], in order to protect the identities of individual plaintiffs asserting abuse claims and individual
plaintiffs who are minors, certain information has been redacted from this list.
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                                    Schedule 1(s)

               Deferred Compensation and Restoration Plan Participants

Alan Lambert                                 Alfred D Morin
Alfred D Morin                               Patrick Sterrett
John Andrews                                 Ponciano Duran
Anne Terry                                   John Primrose
Bonnie H Bishop                              Raymond L Blackwell
Bradford C Allen                             Richard J Mathews
Bradley Farmer                               Robert J Mazzuca
C. Wayne Brock                               Robert Tuggle
C Michael Hoover Jr                          Roger A Ohmstede
C Wayne Brock                                Ron Oats
Pamela E. Carroll                            Ronald K Hegwood
Danny R. Clifton                             Roy L Williams
John A. Coyle                                Steven P. McGowan
David J Ross Ii                              Michael Surbaugh
Donald McChesney                             Thomas H Fitzgibbon
Douglas S Smith Jr                           Thomas Harrington
Erik L Nystrom                               Hugh Travis
Erin Eisner                                  Thomas Varnell
Frances Lynne Park                           Harold Watson
Frederick Wallace                            Willie Iles Jr.
Gary Butler
Jeffrie A. Herrmann
Mark Holtz
J Carey Keane
Jeffrey Hunt
John Green
John Mosby
Joseph S Coco
Judith Ratcliffe
Justin McCarthy
Kathy Sue Stone
Kendrick Miller
Kenneth L Connelly
Randall Kopsa
Albert Kugler
Lawrence F Potts
Lawrence L Otto
Mark Logemann
Robert J. Mazzuca
Michael Ashline
Michael Kaufman
Michael Surbaugh
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                                     Schedule 1(t)

                          Significant Contract Counterparties

3096-3227 Quebec Inc/Groupe Access            Gaylord Texan Resort And Convention
501c Services                                     Center
Accelogix LLC                                 Glas
Ace Adventure Resort Inc.                     Golin Harris International Inc.
Adobe Systems Inc.                            Grant Thornton
AdvantageCS                                   Groupe Access
Adven Capital Group LLC                       High Towers Wood, Welding & Fabrication,
Adventures WV                                     Inc.
Alert Logic Inc.                              Hyatt Regency Atlanta, Inc.
Amazon Web Services Inc.                      Hyatt Regency Dallas
American Audio Visual Inc.                    Hyatt Regency New Orleans
American Electric Equipment Inc.              IBM
American Food & Vending Corp                  Iidon Inc.
AMS America Inc.                              ImageNet Consulting LLC
Arnica Software Corp                          Infosys
Arrow Capital Solutions Inc.                  Infosys Limited
AT&T (5019)                                   Insight Investments LLC
AT&T Capital Services, Inc.                   JDA Software Inc.
AT&T Mobility                                 Ksquare Solutions Inc.
Automatic Data Processing Inc.                Lumos Networks
Avalara Inc.                                  Maitreyi Consultants Inc.
Ayers Construction                            Manchester Grand Hyatt
Ayoka LLC                                     Mark Monitor Inc.
Blackbaud Inc.                                Meetings By Design Inc.
Brown & Bigelow, Inc.                         MetLife
Butch Whitten Construction                    Mi9 Retail Na Corp
Buxton Company                                Microsoft Services
CEC Facilities Group LLC                      Mimeo.com Inc.
Certain Inc.                                  Montclair State University
CircuiTree, LLC                               Morneau Shepell Limited (formerly known
Constellation NewEnergy, Inc.                     as Mercer Inc.)
Corra Technology Inc.                         MuleSoft Inc.
Datamax                                       MXD Group Inc.
Dci / Shires Inc.                             Naturally Slim
Dci Shires                                    Nelson Westerberg/Atlas Van Lines
Dupont Hotel Project Owner LLC                NTT Com Security (US) Inc.
Durham School Services, L.P.                  Oracle America Inc.
First Advantage Lns                           Perimeter International
First Maintenance Company                     Philadelphia Marriott Downtown
Freeman Decorating Co                         Raymond Leasing Corporation
Gaylord National Resort And Convention        RCG Global Services Inc.
    Center                                    Riskonnect Inc.
                                              River Expeditions
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Robot And Pencils
Rpe Outsourcing, LLC
S & Me Inc.
Shawn H Jackson
Sheraton Birmingham
Skillsoft Corporation
Southern Air, Inc.
Sovos Compliance LLC
Sun Life Assurance Company of Canada
Tech Plan Inc.
The Vitality Group LLC (TVG)
Thomas Hjellming
Town Sports International Holdings, Inc.
United Healthcare
Unum
Upp Technology
Upper Keys Marine Construction, LLC
Verifone
VSP
Wage Works
Weston Solutions Inc.
Yeti Coolers, LLC
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                                        Schedule 1(u)

                                    Significant Customers

A-B Emblem
Classb
Flemington Dept. Store
Ramsey Outdoor Store
The Moritz Embroidery Works, Inc.
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                                     Schedule 1(v)

                                  Significant Donors

Abigail Maddi
America’s Charities
Anadarko Petroleum Corporation
Blake Family Trust
Dean Wm. Carr, Jr. Trust
Estate of Allen C. Weiss
Estate of Ingeborg M. Borre
Estate of Steven C. Schoger
Estate of Thomas Parissidi
Fowler Family Fund
Gorini & Gorini LLP
Greater Kansas City Community Foundation
H P Farrington Trust C/O Bank of America
H. P. Farrington - HPF Foundation RSDY
Insurance Auto Auction
James S. Turley
John C. Jadel
John D. Harkey
John D. Tickle
John E. Link
Krevsky, Silber & Bergen
Lonnie C. Poole
Murray Energy Corporation
Mutual of Omaha Insurance Company
Publishing Concepts, L.P.
R. Doyle Parrish
Robert Cruickshank
Stephen D. Bechtel, Jr. Foundation
Steven A. Antoline
Steven E. Zachow
The James Annenberg La Vea Charitable Foundation
The Walter R. Wormell Trust
Tilden Family Philanthropy Fund
Todd L. Johnson
Tridave, LLC
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                                  Significant Vendors

1-800-Pack-Rat                                Diamond Brand Canvas Products
Ace / Esis                                    Eagles Nest Outfitters, Inc.
Ace Adventure Resort Inc.                     EAN Services LLC
Ace American Insurance Company                Eco Structures Australia Pty LTD
Adventure Medical/Tender Corp                 Egroup Recognition
Allied Rentals Inc.                           Eski Inc.
American Airlines                             Facebook Inc.
American Outdoor Products                     FedEx
AR & JO & MH LLP                              Fenwick & West LLP
Aspen Corporation                             Fidelity Retirement Services
Automotive Rentals Inc.                       Fiji Elevator Company
AVIO Consulting LLC                           Forest Fitness LLC
Barebones Systems                             FTI Consulting Inc.
Barkley House Ii Inc.                         G&G Outfitters Inc.
BC Sales And Sourcing                         Gateway Press Inc.
Berman O’Connor & Mann                        General Datatech LP
BHG Structured Settlements Inc.               Gerald Magar Jr
Bison Designs LLC                             Gilbert LLP
Boxley Aggregates of West Virginia LLC        Gillmann Services Inc.
Boy Scouts GA Recon Acct                      Gregory M Skinner
Boy Scouts of America Recon Clearance         GSI Outdoors Inc.
BSA Florida Sea Base BPC                      GSR LLC
BSA Parents Inc.                              Guinn Consulting LLC
Buzzshift Inc.                                Health Special Risk Inc.
Cai Design Inc.                               Hike America
Calypso Water Sports & Charters, Inc.         Hintz Targeted Marketing, LLC
Capital Printing Co                           Insigniam Performance LP
Capitol Business Equipment                    Jesse Scofield Productions LLC
CDW Direct, LLC                               Jurisprudent Deferral Solutions LLC
Chasan & Walton LLC                           Kahoot Products Inc.
Coleman Co Inc.                               Klymit (Argon Technologies)
Compass Group USA Inc.                        KT Brown Consulting LLC
Computer Digital Imaging Corporation          Kuehne and Nagel
Council Unemployment                          Labatt Food Service
Covington & Burling LLP                       Leatham Family LLC
Cramer Security & Investigations Inc.         Leatherman Tool Group Inc.
Crest Craft Company                           Lewis A Whitten
Crown Awards                                  Liberty Mountain Sports LLC
Crystal Bay Corporation                       Low Impact Excavators Inc.
David W McKeehan                              Lowe’s Companies, Inc.
Davis Polk & Wardwell LLP                     Macro Integration Services Inc.
Deprez Travel Bureau Inc.                     Magic Novelty Co Inc.
Derby Worx Inc.                               Marriott Business Services
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Marriott International                          Target Creative Group Inc.
Marsh & McLennan Agency LLC                     Texas State Comptroller
McGovern & Company                              The Duck Company
Mercer                                          The McClellan Law Firm A/C Trust Fund
Mittera Group                                   The Special Event Company
Morris & Player PLLC                            The Thrasher Group, Inc.
MTM Recognition Corp                            Thiel Law Office PLLC
Mutual of Omaha Structured                      Thorlo, Inc.
Myers Lawn Care Services                        Tower Legal Staffing Inc.
NCS Pearson Inc.                                Trainham Cattle Company
Nichols Kaster PLLP                             Transportation Management Services
Optum Health Bank                               True Digital Security Inc.
Oregon Freeze Dry Inc.                          Ugly Mugz
Orkin                                           Unblind Productions Inc.
Osprey Packs, Inc.                              US Foods, Inc.
Out Island Sailing Adventures LLC               USPS / Eps
Pacific Life & Annuity Services Inc.            Vandalia Bronze
Paradies Gifts Inc.                             Vigna Information System LLC
Paramount Builders LLC                          Vision Service Plan
Paramount Headwear Inc.                         Vista Outdoor Sales LLC
Partnership Employment Dallas LLC               Wagner Equipment Company
Peak Industries Inc.                            Wealth-X LLC
Peiyork Intl Co Inc.                            White Wilderness Inc.
People 2.0 Global Inc.                          Wolverine World Wide Inc.
Pray Publishing                                 World Scout Bureau
Pro-Honor Design & Casting                      World Scout Foundation
Quad Graphics Inc.                              World Scout Shop LTD
Renegade Productions Inc.                       Yadgarov & Associates PLLC
Royle Printing Co                               You Are Here LLC
Ryder Last Mile Inc.
Saunders Staffing Inc.
Schwebel Goetz & Sieben PA
Shamrock Foods Company
Shutterstock Inc.
Silver Creek Leather Co
Silver Golub & Teitell LLP
Stamps.Com
Stange Company Inc.
State Board of Equalization
Strategic Orient Sourcing
Sunbelt Rentals
Supplyone Rockwell, Inc.
Symphonix Solutions Inc.
Syncb/Amazon
Sysco South Florida Inc.
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                                       Schedule 1(x)

                              Significant Taxing Authorities

Acadia Parish School Board                      Commonwealth of Puerto Rico
Alabama Attorney General’s Office               Commonwealth of Virginia
Alabama Securities Commission                   Concordia Parish School Board
Arizona Corporation Commission                  Connecticut Public Charity Unit
Arizona Dept. of Revenue                        DC Treasurer
Arkansas Dept. of Finance                       Delaware Secretary of State
Ascension Parish Sales Tax Authority            Denton County Tax Assessor Collector
Assumption Parish                               Departamento De Finanzaz, Municipio
Avoyelles Parish School Board                        Autonomo De Guaynabo
Beauregard Parish Sales Tax                     City of New Orleans, Department of
Bossier City - Parish                                Finance Bureau
Caddo Shreveport Sales                          Department of The Treasury, IRS
Calcasieu Parish School Board                   Desoto Parish Sales
California Department of Justice                East Feliciana Parish
Canada Revenue Agency                           False Alarm Reduction Unit, County of
Capitol Corporate Services Inc.                      Fairfax (VA)
Charleston County                               Florida Department of Revenue
City of Canon City                              Florida Department of State
City of Chicago - Dept. Of Revenue              Florida Dept. of Agri & Consumer Svcs
City of Colorado Springs                        Forsyth County Tax Collector
City of Craig Alaska                            Fred Sisk Knox County Trustee, County of
City of Davenport                                    Knox
City of Detroit                                 Georgia Secretary of State
City of Grand Junction Finance                  Grant Parish School Board
City of Greenwood Village                       Harris County Sheriff’s Office Alarm Detail
City of Gustavus                                Iberia Parish School Board
City of Johnson City                            Illinois Charity Bureau Fund
City of Knoxville                               Illinois Department of Revenue
City of Kodiak                                  Iowa Dept. of Revenue And Finance
City of Lakewood                                Jackson Parish Sales Tax Collection
City of Loveland                                Jefferson Davis Parish School
City of Melbourne                               Jefferson Parish Sheriff’s Office
City of Palmer                                  Jefferson Parish Tax Collector
City of Pueblo                                  Kansas Department of Revenue
City of Seattle                                 Kansas Secretary of State
City of Steamboat Springs                       Kentucky State Treasurer
City of Tacoma                                  Lafayette Parish School Board
City of Thorne Bay                              Lafourche Parish School Board
Collin County Tax Assessor Collector            Lincoln Parish
Colorado Dept. of Revenue                       Livingston Parish School Board
Colorado Secretary of State                     Louisiana Dept. of Justice
Commonwealth of Massachusetts                   Louisiana Dept. of Revenue And Taxation
Commonwealth of Pennsylvania                    Maine Revenue Services
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Maricopa County Treasurer                       Sales And Use Tax Office, St. John The
Mass DOR (Dept. of Revenue)                         Baptist Parish
Massachusetts Dept. of Revenue                  SBC Tax Collector, County of San
Maryland Secretary of State                         Bernardino
Michigan Dept. of Treasury                      SD Secretary of State
Minister of Finance - Manitoba                  Secretary of State - ND
Minnesota Dept. of Revenue                      Secretary of State of Rhode Island
Montana Secretary of State                      Shelby County Trustee- David Lenor
Monterey County Tax Collector                   South Carolina Department of Revenue
Montgomery County                               South Carolina Secretary of State
Morehouse Sales & Use Tax Commission            South Dakota Dept. of Revenue
Minnesota Pollution Control Agency              St Charles Parish School Board
    (MPCA)                                      St James Parish School Board
MS Secretary of State                           St Landry Parish School Board
NC Department of Revenue                        St Martin Parish School Board
Nebraska Dept. of Revenue                       St Mary Parish
Nevada Secretary of State                       St Tammany Parish Sheriff’s DPT
New Mexico Secretary of State                   State Board of Equalization, California
New Mexico Taxation & Revenue Dept.             State of Alaska
New York Sales Tax Bureau                       State of Connecticut
New York State Corporation Tax                  State of Delaware
New York State Dept. of Law                     State of Georgia
NJ Division of Consumer Affairs                 State of Maine
NM Taxation & Revenue Dept.                     State of Maryland
North Carolina Secretary Of State               State of Minnesota
NV Stmt of Business Publication                 State of New Hampshire
Office of State Tax Commissioner, North         State of NJ-Sales & Use Tax
    Dakota                                      State of Rhode Island Division/ Taxation
Office of The Attorney General, California,     State of Rhode Island General Treasurer
    Registry of Charitable Trusts               State of Tennessee
Ohio Attorney General                           State of Washington Dept. Of Revenue
Ohio Treasurer of State                         State of Wyoming
Oklahoma Secretary of State                     State Tax Commission, Mississippi
Oklahoma Tax Commission                         State of Idaho Tax Commission
Orange County Tax Collector                     Tangipahoa Parish School System
Oregon Dept. of Justice                         Tarrant County Tax Assessor-Collector
Pa Dept. of Labor & Industry                    Tax Collector Monroe County FL
Parish of East Baton Rouge                      Taxation & Revenue Department, Monroe,
Parish of Iberville                                 Louisiana
Parish of St Bernard                            Taxation & Revenue Dept., Santa Fe, New
Parish of Terrebonne                                Mexico
Plaquemines Parish                              Tennessee Dept. of Revenue
Puerto Rico Department of The Treasury          Texas State Comptroller
Rapides Parish                                  The City of Cortez
Sabine Parish                                   Treasurer of Virginia
Sacramento County                               Treasurer State of Connecticut
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Treasurer State of Ohio
Treasurer, City of Memphis
U.S. Department of Homeland Security,
   Customs and Border Protection
Utah Department of Agriculture And Food
   (UDAF)
Union Parish
United States Department of The Treasury
Utah Dept. of Commerce
VDH - Bedding, Commonwealth of Virginia
Vermillion Parish School Board
Vermont Department of Taxes
Vernon Parish School Board
Virgin Islands Bureau of Internal Revenue
Washington County Trustee
Washington Office of Insurance
Washington Parish
Washington Secretary of State
Webster Parish School Board
West Baton Rouge Parish
West Feliciana Parish School BD
West Virginia Division of Labor
West Virginia Secretary of State
West Virginia State Tax Dept.
WI Dept. of Financial Institutions
Winn Parish
Wisconsin Department of Revenue
WV Secretary of State
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                                           Schedule 1(y)

                                  Significant Utility Providers

AAF Hauling Inc.                                    National Grid
Advanced Disposal                                   Northern New Mexico Gas
Allstream Business Us Inc.                          Oak Hill Garbage Disposal Inc.
Amerigas                                            Pacific Centrex (Datavo LLC)
Appalachian Power                                   Piedmont Natural Gas Company
Aspen Waste Systems, Inc.                           Plyler Paper Stock Co Inc.
AT&T                                                Raleigh County Solid Waste
AT&T - Opus                                         Republic Services, Inc.
AT&T Mobility                                       Shentel
AT&T Wireless                                       Sierra Communications, Inc.
Cablevision Systems Corporation                     Springer Electric Cooperative, Inc.
CenterPoint Energy                                  Time Warner Cable
CenturyLink                                         Tri-County Electric Cooperative Inc.
City of Charlotte                                   Trophy Club Muds
City of Irving - Utility Billing                    Verizon Wireless
City of Irving - Municipal Services Bill            Village of Cimarron
City of Mount Hope - Sewer                          Waste Connections, Inc.
City of Mount Hope - Water                          Waste Management
Claro Puerto Rico                                   Waste Management - Blaine MN
Consolidated Communications                         Waste Management Florida
County of Colfax                                    Waste Management- Ft Worth Hauling
Crosier’s Sanitary Service Inc.                     Waste Management Lewisville Hauling
Dakota Electric Association                         Waste Management of Denver
Direct Communications Rockland                      Waste Management of Michigan Inc.
Direct Energy Business, Inc.                        West Virginia American Water
Duke Energy                                         West Virginia American Water Co
EarthLink (Windstream)                              White Oak Public Service District
EarthLink Business                                  Windstream Communications Inc.
Eversource                                          Wow! Business
Ferrellgas                                          Xcel Energy
Florida Keys Aqueduct Authority                     Zia Natural Gas Company
Florida Keys Electric Cooperative
Frontier Communications
Getronics Pomeroy IT Solutions
Granite Telecommunications
Keys Energy Services
Kit Carson Electric Cooperative
Lake Country Power
Level 3 Communications LLC
Lumos Networks
Lumos Networks DBA Segra
Mountaineer Gas Company
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                                      Schedule 1(z)

           U.S. Trustee, Judges, and Court Contacts for the District of Delaware

Agarwal, Robert                                  Nancy Hunt
Hon. Ashley M. Chan                              Rachel Bello
Benjamin Hackman                                 Rachel Werkheiser
Hon. Brendan L. Shannon                          Ramona Vinson
Brian Cavello                                    Richard Schepacarter
Cacia Batts                                      Shakima L. Dortch
Catherine Farrell                                Sherry Scaruzzí
Cheryl Szymanski                                 T. Patrick Tinker
Christine Green                                  Timothy J. Fox Jr.
Hon. Christopher S. Sontchi                      Una O’Boyle
Claire Brady
Danielle Gadson
David Buchbinder
David Villagrana
Diane Giordano
Dion Wynn
Donna Grottini
Edith A. Serrano
Hannah M. McCollum
Holly Dice
James R. O’Malley
Jane Leamy
Janet Moore
Jeffrey Heck
Jill Walker
Hon. John T Dorsey
Juliet Sarkessian
Hon. Karen B. Owens
Karen Starr
Karen Strupczewski
Hon. Kevin Gross
Laura Haney
Lauren Attix
Laurie Capp
Hon. Laurie Selber Silverstein
Linda Casey
Linda Richenderfer
Lora Johnson
Marquietta Lopez
Hon. Mary F. Walrath
Michael Panacio
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                                           Exhibit A-3

              Disclosures Regarding Relationship with Potential Parties in Interest

In connection with the proposed retention of Claro to provide consulting and expert witness
services to the Tort Claimants’ Committee, Claro has been provided a list of the Debtors’
creditors and other persons identified as parties-in-interest in the Debtors’ bankruptcy cases.
Claro’s conflicts check is done by searching a computer database maintained by Claro for the
specified names listed in Exhibit A-2. Claro has not been provided, nor has it searched the
names of any parents, subsidiaries, or affiliates of the entities listed in Exhibit A-2, and it is
possible that Claro has been engaged by some of these entities in matters unrelated to the
Debtors or this bankruptcy. If the information provided to Claro for use in the search of Claro’s
database contains a misspelling, a connection could have been missed. However, no known
misspellings are believed to exist. Additionally, due to the magnitude of the aforementioned
Claro computer database, many common names (for example, those of common individual
surnames, etc.) appear repetitively.

Claro has identified and included in the list below the persons/entities to whom/which Claro
currently has a relationship or a connection in matters unrelated to this bankruptcy case.

Parties with whom Claro has a relationship or a connection:

ABC Insurance                                        Arch
ACE                                                  Arch Capital Group Ltd
ACE                                                  Arch Reinsurance Ltd.
Adobe Systems Incorporated                           Argonaut Insurance Company
ADP, LLC                                             Arizona Department of Revenue
Advanced Disposal                                    Arkansas Dept of Finance
Aetna Casualty & Surety Company                      Arrowood Indemnity Company
Agricultural Excess & Surplus Insurance              Arrowpoint Capital Corporation
Company                                              Aspen
AIG                                                  AT&T
Alix Partners                                        AT&T Capital Services, Inc.
Allianz Global                                       AT&T Mobility, LLC
Allianz SE                                           Ategrity
Allied World Assurance Company                       Atlas Van Lines, Inc
Alterra                                              AXA
Alvarez & Marsal North America                       AXA XL
Amazon Web Services, Inc.                            Axis
American Agricultural Insurance Company              AXIS Capital Holdings Limited
American Express                                     Axis Surplus Insurance Company
American Guarantee And Liability                     Bank of America Merchant Services
Insurance Company                                    Bank of America, N.A.
American Re-Insurance Company                        BC Sales and Sourcing
Amerigas                                             Beazley Insurance Company, Inc.
Anadarko Petroleum Corporation                       Berkeley Research Group
Ankura Consulting Group LLC                          Berkshire Hathaway Insurance Group

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Blackrock, Inc.                                             Endurance American Specialty Insurance
Bond, Schoeneck & King PLLC                                 Company
Bondurant, Mixson & Elmore, LLP                             Enstar
Boy Scouts of America10                                     Evanston Insurance Company
California Department of Justice                            Everbank Commercial Finance, Inc.
California Union Insurance Company                          Everest National Insurance Company
Capitol Corporate Services, Inc.                            Everest Re Group, Ltd
CDW Direct LLC                                              Facebook, Inc.
CenterPoint Energy, Inc.                                    Fairfax Financial Group
Century Indemnity Company                                   Federal Insurance Company
CenturyLink                                                 FedEx Corporation
Charles Schwab & Co. Inc.                                   Ferrellgas, Inc.
Chase Mht Bank                                              Fifth Third Bank
Chase Paymentech                                            Firemans Fund Insurance Company
Chubb Atlantic Indemnity Ltd.                               First Bank
Chubb Custom Insurance Company                              First Specialty Insurance Corporation
Chubb Group of Insurance Companies                          First State Bank
Clarendon America Insurance Co.                             First State Insurance Company
Clarendon National Company, Insurance                       Florida Department of Revenue
CNA                                                         Florida Department of State
Colony Insurance Co.                                        Ford Motor Company
Colorado Dept of Revenue                                    Fox Rothschild LLP
Columbia Casualty Company                                   Frontier Communications
Commonwealth of Massachusetts                               FTI Consulting
Commonwealth of Pennsylvania                                Gemini Insurance Company
Commonwealth of Virginia                                    Gilbert LLP
Connell Foley LLP                                           Global Payments Inc.
Consolidated Communications                                 Goldman Sachs
Constellation NewEnergy, Inc.                               Granite Telecommunications, LLC
Continental Insurance Company                               Grant Thornton LLP
Covington & Burling LLP                                     Great American Assurance Co.
Davis Polk & Wardwell LLP                                   Great American E&S Insurance Company
Delaware Secretary Of State                                 Great American Insurance Company
Dentons US LLP                                              Great American Property & Casualty
Discover Card                                               Gulf Insurance Company
Duke Energy Corporation                                     Hacker Coverage Dispute
Ean Services, LLC                                           Hallmark Specialty Insurance Company
Eisenberg, Rothweiler, Winkler                              Harbor Insurance Company
Endurance American Insurance                                Hartford Accident & Indemnity Co.
                                                            Hartford Financial Services Group Inc.

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  Prior to the petition date, Claro engaged in              discussions, and the discussions never progressed
informal discussions with certain counsel to Boy            beyond what is described above. Claro makes this
Scouts to provide more information about Claro’s            disclosure out of an abundance of caution to help
capabilities in the context of this matter. Claro was       ensure there is not any dispute that Claro is a
not asked to make a formal proposal and did not             disinterested party.
make a formal proposal. Claro never received any
confidential information in connection with the

                                                        2
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Hartford Fire Insurance Company                 Merrill Lynch, Pierce, Fenner & Smith Inc.
Hartford Insurance Company                      Michigan Department of Treasury
Haynes and Boone, LLP                           Miller, Johnson, Snell & Cummiskey PLC
Hinshaw & Culbertson LLP                        Minnesota Department of Revenue
Houston Casualty Company                        Montgomery County
IBMS, LLC                                       Morris, Nichols, Arsht & Tunnell LLP
Illinois Department of Revenue                  Munich Re
Indemnity Insurance Company of N.A.             National Casualty Company
Indian Harbor Insurance Company                 National Grid
Infosys Limited                                 National Surety Corporation
Insurance Company of North America              National Union Fire Insurance Company of
Insurance Company of the State of               Pittsburgh, PA
Pennsylvania                                    Navigators Group, Inc.
International Business Machines, Corp.          Navigators Insurance Co.
International Insurance Company                 Nelson Westerberg, Inc.
Interstate Fire and Casualty Company            New Mexico Taxation & Revenue
Iowa Department of Revenue                      Normandy Reinsurance Company, Ltd.
J.P. Morgan Chase Bank                          North Carolina Department of Revenue
James Kennedy                                   Norton Rose Fulbright LLP
James Stillwell, Jr                             Ogletree, Deakins, Nash, Smoak & Stewart,
Kansas Dept of Revenue                          P.C.
Kansas Secretary of State                       Ohio Attorney General
Key Equipment Finance                           Ohio Treasurer of State
Kuehne and Nagel, Inc.                          Oklahoma Secretary of State
Labatt Food Service                             Oklahoma Tax Commission
Landmark Insurance Company                      Old Republic General Insurance Group
Law Offices of Mitchell Garabedian              Oracle America Inc
Level 3 Communications, LLC                     Orkin Incorporated
Lexington Insurance Company                     Pachulski Stang Ziehl & Jones LLP
Liberty Insurance Underwriters, Inc.            Pacific Employers Insurance Company
Liberty Mutual Insurance Company                Pacific Indemnity
Liberty Surplus                                 Pension Benefit Guaranty Corporation
Lloyds of London                                People 2.0 Global Inc
Locke Lord LLP                                  Perkins Coie
London Market Insurers                          Pfau Cochran Vertetis Amala
Louisiana Department of Revenue                 Plaquemines Parish Assessor
Lowes Companies Inc                             PNC Financial Services
Maricopa County Treasurer                       PriceWaterhouseCoopers
Markel American Insurance Company               Quad/Graphics, Inc.
Markel Corporation                              Quinn Emanuel Urquhart & Sullivan
Marriott Business Services                      Republic Services, Inc.
Marriott International, Inc.                    Robins Kaplan LLP
MasterCard                                      Roman Catholic Parish of St. Frances
McGuire Woods LLP                               Xavier Cabrini
McGuire, Craddock & Strother PC                 Royal Indemnity Company
Mercer, LLC                                     RSUI Group, Inc.


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RT Specialty                                   Traders and Pacific Insurance Company
Schwebel, Goetz & Sieben                       Travelers Casualty and Surety Company
Scotiabank & Trust, Ltd.                       Twin City Fire Insurance Company
Sheehy Ware Pappas                             U.S. Customs and Border Protection
Sidley Austin LLP                              United Healthcare
SOMPO Holdings, Inc.                           United Healthcare
South Carolina Department of Revenue           United States Department of Treasury
St. Benedict Joseph Labre Church               United States Fire Insurance Company
St. Catherine’s Roman Catholic Church          Unum Life Insurance Company of America
School                                         US Bank National Association
St. Paul Surplus Lines Insurance Company       US Foods, Inc.
Starr Indemnity & Liability Co.                Utica Mutual Ins. Co.
Starr Specialty Lines                          Verizon Wireless
State Board of Equalization                    Vinson & Elkins LLP
State of Connecticut                           Visa, Inc.
State of Delaware                              Vista Outdoor Sales LLC
State of Georgia                               W.R. Berkley Corporation
State of Maryland                              Walgreen Co., Inc.
State of Minnesota                             Waste Management, Inc.
State of New Hampshire                         Wells Fargo Bank, N. A.
State of Tennessee                             Wells Fargo Financial Leasing, Inc.
State of Wisconsin                             West Virginia Secretary of State
Steadfast Insurance Company                    West Virginia State Tax Department
Steptoe & Johnson                              Westchester Fire Insurance Company
Stites & Harbison, PLLC                        Westchester Surplus Lines Insurance
Swiss Re                                       Company
Tennessee Department of Revenue                White and Williams LLP
Texas Comptroller of Public Accounts           Wiggin & Dana
The Cincinnati Insurance Companies             Wilson, Elser, Muskowitz & Edelman
The Commonwealth of Puerto Rico                Winston & Strawn LLP
The Hartford Steam Boiler Inspection           Wisconsin Department of Revenue
The Roman Catholic Diocese of Rochester,       Xcel Energy
New York                                       XL Catlin
The Travelers Companies                        XL Dublin
The Travelers Indemnity Company                Yeti Coolers, LLC
Thompson Coe, Cousins & Irons, LLP             Young Conway Stargatt & Taylor
Time Warner Cable, Inc.                        Zurich




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